    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF CONNECTICUT




LAGUERRE LENSENDRO


V


TRANSLINION LLC




                                           I.         Introduction

     1. I, Laguerre Lensendro, Plaintiff in this action bring suit against Defendant TransUnion
        LLC, for violations of the Fair Credit Reporting Act, 15 U.S.C. $ 168 i et seq. seeking

        redress for Defendant's failure to comply with its statutory duties under the FCRA, which

        resulted in harm to me, as more fully set forth below.




                                                II.       Parties

    2. I am a natural person residing in Norwalk, Connecticut, and I am a "consumer" as
        defined by 15 U.S.C. g 1681a(c).

    3. Defendant, TransUnion LLC headquartered at 555 W Adams St, Chicago,IL 60661,is a
        consumer reporting agency as defined by 15 U.S.C. $ 1681a(f). Defendant is a person

        which regularly engages in whole or in parl in the practice of assembling or evaluating

        consumer credit information or other information on consumers for the purpose of



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   furnishing consumer reports to third parties. At all times material to this Complaint,

   Transunion transacted business in this district and nationwide




                               III.    Jurisdiction and Venue

4. This Court has subject matter jurisdiction over this action pursuant to 15 U.S.C. $ 1681p
   which allows for actions to enforce liability be brought in U.S District Court.

5. Venue is proper in this district because the events giving rise to this claim occumed in the
   District of Connecticut. I reside in this district, and Defendant conducts business within

   this district.




                                      IV.   Background

6. The Fair Credit Reporting Act (FCRA) imposes various obligations on consumer
   reporting agencies (CRAs), such as TransUnion, to ensure the accuracy and reliability of

   consumer information contained in their files. These obligations are critical for protecting

   consumers from inaccurate credit reporting, which can negatively affect creditworthiness,

   employment opportunities, and financial stability.




7. Under the FCRA, when a consumer disputes the completeness or accuracy of any item in
   their file, the CRA must conduct a reasonable reinvestigation to determine whether the

   disputed information is accurate. [15 U.S.C. $ 1681i(a)(1)(A).]




8. Within five business days of receiving the dispute, the CRA must notiff the furnisher of
   the disputed information. This notification must include all relevant details provided by

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      the consumer regarding the dispute. A furnisher is an entity such as a bank, credit card

      issuer, or debt collector that supplies information about consumers to the CRA. [15

      u.s.c. $ 1681i(a)(2XA).1



9. The CRA must complete its reinvestigation within 30 days of receiving the dispute unless
      an extension is granted. If the CRA cannot veri$'the accuracy of the disputed

      information, it must delete or correct the information. U5 U.S.C. $ 1681i(a)(lXA),

      (a)(5).1 Following the reinvestigation, the CRA must provide the consumer with written

      notice of the results no later than five business days after its completion. This notice must

      include whether any information was deleted or modified, and any additional information

      required by law. [5 U.S.C. $ 1681i(aX6XA).]




10. The FCRA also obligates CRAs to adopt and implement reasonable procedures to ensure

      the maximum possible accuracy of consumer information. [15 U.S.C. $ 1681e(b).]

      Despite this obligation, TransUnion reports multiple persistent inaccuracies in my file,

      which I disputed on December 5,2023. These inaccuracies, detailed in Exhibit 3,

      remained unresolved as of   { January 2025 flnfr, raising great concerns about whether
      TransUnion's procedures were adequate to ensure maximum accuracy in my case.




1   l. TransUnion also failed to conduct a reasonable reinvestigation of the disputed items or to

      correct or delete the inaccurate and incomplete information, as required by the FCRA.

                                    V.      Statement of Facts



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12. OnDecember 5,2023,I sent a written dispute to TransUnion highlighting specific

      discrepancies within multiple accounts.

13. My dispute letter identified and numbered each discrepancy, which pertained to

      TransUnion's reporting. These discrepancies are outlined in Exhibit 1, Items 9-479.

14. Among the inaccuracies specifically highlighted in the letter sent to TransUnion were the

      following accounts:

      a. Capital One Account: Reported as account number 40034488967
      b. Discover Bank Account: Reported as account number 60 I I 01 00-328
      c. Bank ofAmericaAccount 1: Reported as account number 6501005814
      d. Bank ofAmericaAccount2: Reported as account number 5524-3328-4103
      e. American Express Account: Reported as account number 34999-292-2041
           ol - (e_ Lg
15.   On-tf5          I pulled another report, and the issues raised in my original

      correspondence to TransUnion from 1210512023 were still prevalent in the file more than

      a year later.


16. The items within the accounts that were previously disputed were not fixed nor deleted

      and remained.

17. American Express [34999-292-20411balance section from December of 2021 to April of

      2023 contains no substantive data regarding the account balance. Instead ofreporting a

      numerical balance, TransUnion has listed dash marks ("---"). fPlease see exhibit 3, pg. 8

      items 10-15, pg. 9 items 46-51, pg.10 items 78-821

18. These discrepancies mentioned in line 17 were specifically disputed in my letter with

      TransUnion on December 5, 2023, as evidenced by lines 17 to 33 of the dispute outlined




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   in Exhibit 1. Despite my dispute, the rnaccuracles remarned unresolved as of the January

   2025 repoft.

19. The past due section from the month of Decemb er 2021 to April of 2023 contains no

   substantive data regarding the amount past due. Instead of reporting a numerical balance,

   TransUnion has listed three dash marks ("---") [Please see exhibit 3, pg. 8 items 22-27,

   pg. 9 items 54-59, pg. 10 items 90-941

20. These discrepancies mentioned in line 19 were specifically disputed in my letter with

   TransUnion on December 5, 2023 , as evidenced by lines 42 to 58 of Exhibit 1 . Despite

   my dispute, the inaccuracies remained unresolved as of the January 2025 repoft.

21. The scheduled payment section from the month of December 2021to April of 2023

   contains no substantive data regarding the scheduled payment amount and instead of

   reporting a numerical balance, TransUnion has listed three dash marks ("---"). [Please see

   exhibit 3, pg. 8 items 28-33,pg.9 items 60-65, pg.10 items 96-1001



22. These discrepancies mentioned in line 21 were specifically disputed in my letter with

   TransUnion on December 5, 2023, as evidenced by lines 64 to 80 of Exhibit 1. Despite

   my dispute, the inaccuracies remained unresolved as of the January 2025 rcport.




23. Furthermore, the information provided within the account is inconsistent and conflicts

   with itself. Specifically, the account is reported as charged offand subsequently closed on

   June 16, 2023. [Please see Exhibit 3, Pg. 7, Items 4 &.6.] However, despite the reported

   charge-off and closure, the account shows abalance for the months of July 2023 throtgh



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   September 2024. [Please see Exhibit 3, Pg. 11, Items 79-83;Pg.l2,Items II4-II9;Pg.

    13, Items 150-153.1




24.In addition to the inconsistencies within the American Express account, similar

   discrepancies are evident in the reporting of the Bank of America account 15524-3328-

    41031, which also contains inaccurate and conflicting information.




25. Bank ofAmerica 15524-3328-41031 is missing the balance for the period from November

   2018 through May 2022. There is no substantive data provided regarding the account

   balance during this time. Instead of reporting a numerical balance, TransUnion has listed

   dash marks, which fail to convey any meaningful or actionable infbrmation about the

   account. fPlease see Exhibit 3, Pg. 16, Items 206-211 & 230-235; Pg. 17, Items 254-259

   &.278-283; Pg. 18, Items 302-301 & 331-3361' Pg.l9,Items 355-360 &Item379.l




26. These discrepancies mentioned in line 25 were specifically disputed in my letter with

   TransUnion on December 5, 2023, as evidenced by lines 100 to 135 of Exhibit 1. Despite

   my dispute, the inaccuracies remained unresolved as of the January 2025 report.

27.In the past due section dash marks are shown rather than substantive data for the past due

   amount for the period of November 2018 to November 2023. fPlease see Exhibit 3, Pg.

    16, Items 212-217 &,236-241; Pg. 17, Items 260-265 &284-289; Pg. lS,Items 308-313

   &337-342; Pg. l9,Items 361-366 & 385-390:.Pg.2},Items 409-414 &,433-438; &Pg.

   2l,ltem 457 .l




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28. These discrepancies mentioned in line 27 were specifically disputed in my letter with

   TransUnion on December 5, 2023 , as evidenced by lines 17 5 to 222 of Exhibit 1 . Despite

   my dispute, the inaccuracies remained unresolved as of the January 2025 repoft.

29.From November 2018 through December 2023, the Past-Due section contains no

   numerical value, whether zero or greater. Instead, it only contains dash marks ("---") in

   place of any substantive data. [Please see Exhibit 3, Pg. 16,Items 212-217 and236-241;

   Pg.lT,Items 260-265 and284-289; Pg. 18, Items 308-313 and 337-342; Pg. l9,Items

   361-366 and 385-390; Pg. 20, Items 409-414 and 433-438; and Pg.2l,Item 457 .l

30. Items 199 and 201 on Pg. 15 of Exhibit 3 indicate that the account was charged off and

   closed in May of 2022. However, despite the account's closure, a past due amount is

   reported for the period from December 2023 through December 2024.1Please see Exhibit

   3, Pg. 21, Items 457-462 &,481-486; & Pg. 22,Items 501 & 502.1

31. The discrepancies mentioned in lines 29-30 were highlighted in my original

   correspondence with TransUnion on December 5, 2023, as evidenced by lines 224 to 232

   of Exhibit 1. Despite my dispute, the inaccuracies remained unresolved as of the January

   2025 report.

32. The Bank of America account [6501005814] contains incomplete and conflicting data.

   Unlike other accounts mentioned, which include four key subsections (balance, past due,

   remarks, and rating), this account includes only a rating section.

33. The rating is marked as "OK," suggesting the account is current and paid as agreed.

   However, the following discrepancies directly contradict this rating:

   a. Item 516 on Pg. 22 reflects a high balance of $9,328, which conflicts with the 'tOK"

   rating.



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   b. Item 518 on Pg. 23 indicates "$0 per month paid monthly for 60 months," inconsistent

   with the account status.

   c. The account is reported as closed in November 2023, yet no payment history is

   available for that month, leaving an incomplete record of its status at the time of closure.

    fPlease see Exhibit 3, Pg. 22-23.]




34. The discrepancies mentioned in line 33 were specifically highlighted in my original

   correspondence to TransUnion on December 5, 2023, as evidenced by lines 233 through

   304 of Exhibit 1. Despite my dispute, the inaccuracies remained unresolved as of the

   January 2025 report.

35. Discover bank account [6011010003281another account with discrepancies in its

   reporting.




36. The payment history section does not include the balance for the month of January 2022

   all the way to November of 2023 and rather than a numerical value, three dash marks are

   showing.. fPlease see Exhibit 3 Pg26.Items 559-564,583-588 &Pg27Item727-732;

   751,7551




37. The discrepancies mentioned in line 35 were specifically highlighted in my letter to

   TransUnion on December 5, 2023, as evidenced by lines 390 to 416 of Exhibit 1. Despite

   my dispute, the inaccuracies remained unresolved as of the January 2025 report.

38. The payment history section includes past due amount for the month of January of 2022

   to November 2023Is not included. Rather than a numerical value, it's showing only dash

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   marks.fPlease see exhibit 3 p9.26 items 565-570, item 589-594 & pg.27 item733-738,

   item757-7611




39. The discrepancies mentioned in line 37 were specifically disputed in my letter to

   TransUnion on December 5, 2023, as evidenced by lines 4I9 to 422 of Exhibit 1. Despite

   my dispute, the inaccuracies remained unresolved as of the January 2025 report.

40. On page 25 items 552 and 554 denotes that the account was charged off and subsequently

   closed on 0412012022but in the payment history section the account is denoted to have a

   balance and a past due amount for the month of December 2023 all the way to the month

   of December 2024. [please see exhibit p9.27 items 756,762 & pg.28 items 618-629 and

   items 642-6531



41. The discrepancies mentioned in line 39 were highlighted in my letter to TransUnion on

   December 5,2023, as evidenced by line 423 of Exhibit 1. Despite my dispute, the

   inaccuracies remained unresolved as of the January 2025 report.

42. Capital One [4003448896971is missing the last 4 digitsf see exhibit 3 pg.34 item957l




43. The discrepancy mentioned in line 41 was mentioned in my letter to TransUnion on

   December 5,2023, as evidenced by line 467 of Exhibit 1. Despite my dispute, the

   inaccuracy remained unresolved as of the January 2025 report.

44. Exhibit 3, Page 34, Items 960-1962.963.964.965.966.967. As well as 968. All conflict

   with each other. The information denotes that. The account was paid, then Closed on the

   same day and yet there is still a credit limit and a high balance.



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45. On page, 35 of Exhibit 3. The account does not show. The complete history. Such as the

      balance, the scheduled payments, the remarks made. And rather shows a rating

      suggesting that the terms of the account were met.

46. The discrepancies mentioned in lines 43-44 were specifically disputed in my letter to

      TransUnion on December 5, 2023, as evidenced by lines 468 to 479 of Exhibit 1. Despite

      my dispute, the inaccuracies remained unresolved as of the January 2025 report.




       VI.     Count l: Violation of 1681i (a)(5) Failure to delete or modify inaccurate

                                                 information

47   .I re-allege and incorporate all preceding parugtaphs as if fully set forth here.
48. On December 5,2023,I submitted a written dispute to TransUnion LLC, identifying

      specific inaccuracies and incomplete information in my consumer report. A copy of my

      dispute letter is attached as Exhibit 1.

49. Under 15 U.S.C. $ 1681i(a)(5), TransUnion was required to delete or modify any

      information in my consumer report found to be inaccurate, incomplete, or unverifiable

      after conducting a reasonable reinvestigation.

50. TransUnion did not delete or modify the disputed information within the 30-day period

      required by $ 1681i( X5), even though the information was inaccurate andlor incomplete.

51. By failing to delete or modifu the disputed information as required by $ 1681i(a)(5),

      TransUnion violated its statutory obligations.




VII.      Count 2: Failure to Follow Reasonable Procedures to Assure Maximum Possible

                                                  Accuracy



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52. I re-allege and incorporate paragraphs l-46 as if fully set forth herein.

53. Under 15 U.S.C. $ 1681e(b), TransUnion is required to "follow reasonable procedures to

   assure maximum possible accuracy of the information concerning the individual about

   whom the report relates." TransUnion failed to meet this obligation in my case, as

   evidenced by the pervasive inaccuracies and omissions in my report.

54. My report demonstrate that TransUnion did not follow reasonable procedures to ensure

   maximum possible accuracy:

55. The report contains numerous instances of missing or incomplete data, such as balances,

   past due amounts, and scheduled payments for multiple months. For example, the balance

   section for the American Express account [34999-292-20411from December 2021 to

    April2023 contains no substantive data, with dash marks ("---") listed instead of

   numerical values. [Please see Exhibit 3, Pg. 8, Items 10-15; Pg.9,ltems 46-51; Pg. 10,

   Items 78-82.1

56. The report contains conflicting information, such as accounts being reported as both

   charged off and closed while simultaneously showing balances and past due amounts for

   months after the reported closure date. For instance, the Bank of America account 15524-

   3328-4103] is reported as closed in May 2022but shows a past due amount for the period

   from December 2023 through December 2024. [Please see Exhibit 3, Pg. 15, Items I99 &

   201;P9.21, Items 457-462 & 481-486;Pg.2Z,Items 501 & 502.1

57. Furthermore, there are discrepancies in the Discover Bank account [601101000328],

   including missing balances and past due amounts from January 2022 to November 2023.

   [Please see Exhibit 3, Pg. 26, Items 559-564, 583-588; P g. 27, Items 727 -732, 7 5I-7 55.]




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58. The presence of these inaccuracies in my reporl demonstrates that TransUnion did not

   follow reasonable procedures to ensure maximum possible accuracy, as required by 15

   U.S.C. $ 1681e(b). The systemic nature of these errors-such as missing data, and

   inconsistent reporting,-shows that TransUnion failed to meet its statutory obligations in

   my case.

59. As a direct result of TransUnion's failure to follow reasonable procedures to ensure

   maximum possible accuracy, my report contains pervasive inaccuracies that have harmed

   my creditworthiness, and resulted in financial losses. TransUnion's actions constitute a

   violation of 15 U.S.C. $ 1681e(b).



        VIII. Count 3: Violation of 15 U.S.C. $ 1681n - Willful Noncompliance
60. I re-allege and incorporate paragraphs I-46 as if fully set forth herein.

61. Under 15 U.S.C. $ 1681n, TransUnion LLC is liable for willful noncompliance.

62. The inaccuracies and omissions in the f,rle create a cascading effect, undermining the

   integrity of the entire file. Each item t--whether it is the balance, past due amount,

   scheduled payment, or other critical information--builds upon the data from previous

   months to ensure continuity and accuracy. For example, if the balance for January is

   missing or incorrect, the balance for February cannot be accurately calculated or reported.

   Similarly, if the past due amount for March is omitted or inaccurate, the past due amount

   for April cannot be properly determined. This pattern continues, compounding errors and

   omissions throughout the reporl.

63. This domino effect occurs because accurate reporting and/or maximum possible accuracy

   requires a consistent and verifiable chain of information. When data for one month is



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   missing or incorrect, it disrupts the logical progression of the report, rendering all

   subsequent months inherently inaccurate. For instance, if the scheduled payment for May

   is not repofted, the scheduled payment for June cannot be accurately determined. This

   systemic failure to maintain a coherent and accurate chain of information violates the

   FCRA s requirement that consumer reporting agencies adopt reasonable procedures to

   ensure maximum possible accuracy. [15 U.S.C. $ 168le(b).]

64.8y failing to input complete and accurate data, TransUnion has created a report that lacks

   the necessary foundation for reliability. The absence of critical information in one month

   inherently invalidates the accuracy of all subsequent months, as each entry relies on the

   previous one for context and verification. These persistent inaccuracies and omissions

   demonstrate that TransUnion's procedures are inadequate to ensure the maximum

   possible accuracy.

65. A willful violation occurs when a Consumer Reporting Agency either knowingly violates

   the FCRA or acts in reckless disregard of its statutory duties.

66. As Exhibits 2 and 4 will show, TransUnion supposedly conducted a reinvestigation in

   December 2023 and another reinvestigation in July 2024. The record indicates that

   TransUnion allegedly investigated all the accounts in my file. However, as demonstrated

   in Exhibit 3, the incomplete and inaccurate information remains prevalent throughout.

67 .ln January 2025, TransUnion produced a repoft that contained hundreds of errors and


   omissions, despite receiving notice of these inaccuracies through my written disputes on

   December 5,2023, and conducting two reinvestigations--one in December 2023 and

   another in July 2024. These reinvestigations, as shown in Exhibits 2 and 4, supposedly

   addressed all the accounts in my file. However, as demonstrated in Exhibit 3, the



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   incomplete and inaccurate information remains, further evidencing TransUnion's failure

   to ensure maximum possible accuracy. Its actions demonstrate either a knowing violation

   of the statute or a reckless disregard for its statutory duties, rendering it liable under 15

   U.S.C. $ 1681n.

                                        IX.     Damages

68. As a direct result of TransUnion's actions, I have suffered significant harm, including but

   not limited to:

           a. Damage to Creditworthiness as the inaccuracies have resulted in derogatory
               accounts in my file that have negatively impacted my creditworthiness,

               making it difficult to obtain credit, incur debt and acquire property[please seee

               exhibit 5-91

           b. Financial Losses as the inaccuracies in my report have caused me to incur
               financial losses, including but not limited to denial of credit opportunities

           c. Loss of Time and Opportunity for I've spent significant time and effort
               attempting to resolve these inaccuracies, including submitting disputes,

               reviewing reports, and now bringing suit, which has diverted my attention

               from my personal life.

69. WHEREFORE, I respectfully request that this Court:

           a. Award statutory damages under 15 U.S.C. $ 168ln for TransUnion's willful
               noncompliance with the FCRA famount to be determined at trial]

           b. Award punitive damages under 15 U.S.C. $ 1681n to deter TransUnion from
               engaging in similar conduct in the future [amount to be determined attrial]




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                        c. Actual damages for lost opportunities and adverse action resulting from
                           Transunion's action [to be determined at trial]

                        d. Grant any other relief this Court deems just and proper.

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      this is not a frivolous dispute.



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          32. Thc balsncc is missing forMarch 2023                                                       Ll
          33. Thc balancc is missing for April 2023
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          34. The balancc for May 2023 is not 5750 but rathcr 750.00
          35. Ttc bqluc forJune 2023 is not SlO3 but rather S 103.m
          36. Tbc balanc€ for July 2023 is nor $3,693 but rather S3.693.00
          37- Thc bslanc. is nDl 3.829 but rathcr 53,829.00 for ahe month ofAugtst 2023                   c
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          38" fie balancc is not 53.829 for the month of september but rather $3,829'00                   c
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          39. The bslmce is trot $3.829 for the montb ofoctobcr 2023 but rather 33,829.00                 c
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          42. Thc past duc Bmount for the month ofdcccmbcr 2021 is missing                                r
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          43. Thc pasr duc amount for the month olJanuary 2022 is missing
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          45. The pasl duc amount for ihc month of Msrch 2022 is nissing                                  c
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          46. Thc past due rmDrmt for the month of Apal2022 is missine                                    c
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          4?. Thc pa$ duc amornt for ihc month of May 2022 is missing                                      o
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          49. Thc past duc amount for tho monlh of July 2022 is missing
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          5Z Tbc pdst dnc unounr for thc moDB of ocrobcr 2022 is missing
          5!. Thc past duc unouflt for thc moDth ofnovdnbcr 2022 is missing
          54. Tlre prst due ornounr for tte mon6 of Dccsrnbcr 2022 is missing
          55- The pasi due smount for the month ofjanuary 2023 is rnissing
          56. Thc past duc amount for lhc monlh of Fcbru$y 2023 is missing
          57. Thc past duc amount for thc monlh of nuth 2023 is missing
          58. Tbc posr duc arnoult for thc rnontft of Aprit 2023 is missing




                                                                                        73
Dp. L2/L2/2023 (00Kc07)     24.166919. 05004s31
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         59. The pasr duc amount for thc monrh ol August 2023 is incomplctc and so inaccuratc as ihc emolml
             is shom ss $273 mther ftm $273.00
         60. The amount is incomplete and so innccurnte for the montlr ofScptonber ofthe amount shows
             $51 I rathcr than $51 1.00
         51- Thc amount is incomplete snd so inaccurate for the month of October as il shows an lmount of $
             773 ralhcr than $773.00
         62. The amount is incomplclc and so inaccuratc for the month ofNovember 2023 as it shows nn
             s$ount of $3,858 instcad of 33.858.00
         63. The amount is incomplcte nod so inaccrtatc for the month of Deccmbsr 2023 as it shows srr
             amount of S1.089 instead of 3 1.089.O0
         64, fic Schodulcd paJrment for thc monlb of Dec€mbcr 2021 h not shown
         65, Ttc Schcduled palrment for the month ofJanuary 2022 is nol sbown
         66, Thc Schcdulcd paSrmeat for the month of february 2022 is not shown
         67- Thc Schcdulcd paydreDt for Lhc month ofmsrch 2022 is nol 6howa
         58- Thc Schedulcd palrmcnt for lhc month ofApril 2022 is not shown
         69, The Schcdulcd psymcnt for thc monrh of Muy 2022 is not shown
         70, Thc Schedulcd pl)rment for thc month of Jwe 2022 is not shown
         71. Thc Schcdulcd palmcn! for lhe month of July 2022 is nol shown
         72. Tfic Schcdulcd payment for thc month ofAugrst 2022 is not shown
         73. The Schcdulcd payment for the month of September 2022 is not shown
         74. Thc Schcdulcd paymelt for thc month of Ootobcr 2022 is not shown
         75. Thc Schcdulcd payment for thc month of Novembcr 2022 is nol shown
         76. Thc Schedulcd payment for thc month ofDecernb€r 2022 is not sbown                                 c
                                                                                                               c
         77. The Schedulcd paJmcnt for thc month of lanuary 2023 ir not shown                                  c
         78- Thc Scheduled payment for rbe moath offebnrary 2o23 is not shown                                  c
                                                                                                               c
         79. Thc Schcdulcd paJnnent for lhe mooth of March 202] is mt shown                                    f
         80. Tbc Schedulcd pdimcnt for rhe month ofApril 2023 is not showr                                     Y
                                                                                                               o
         8 l- Thc Schcdulcd psymcnt for thc month ofMay 2023 is not shown                                      o
         82 Thc Scheduled paymcnt for the month of Jrme 2023 is incomplctc and drercfore inaccurate as it      c
                                                                                                               c
             shows 3103 rathcr then SI03.00                                                                    :E
                                                                                                               c
         83- Thc Schcdulcd payment for thc month ofjuly 2023 is iocomplctc and t[crcforc inaccuralc as it      c
                                                                                                               c
             shows thc arnount of3238 rathcr than $238,00
         M, Ttrc Schedulcd payment for thc month of August 2023 is incompletc and thcrcforc inaccurate as it   a
                                                                                                               a
             shows an amount of$262 instead of $262.00
         85, Thc Schcduled payment for 0rc month September 2023 is incomplete arrd therefore inaccurslc as
             it does not show $l 57.0O but rathcr I 57
         86. Thc Schcdulcd paymcnt for tbe monrh ofoctobcr 2023 is incomplctc and is so inaccuratc as it
             docs not show the amount ofSl57.00 but nther SI57
         87, Thc Schcdulcd paymsnt for the month ofNovernbcr 2023 is inaccurate and thcrcfort incomplctc
             &q it does not sbow lhe a,urount ss S I 88.00 but ralhgr $ I 88
         88. Tbc Schcduled pslmmt for thc month of Decedbcr 2023 is incompletc and Ls so inaccurate as it
             shows the rrrrount of Sl59 ratbcr lhsn $159.m




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DR I2/L2/2023 (00Kc07) 2s.166e1e.0s004s3r
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      Bank oIAmerica 5524332M I     03r'i'
      Account information
          89, Thc accotllt # is incomplerc and inf,ccurare 8s il does not show thc full nccount numbcr
         90. Hon, can thcc bc a high balance when the account is cbargcd of[?
         91. Ifrhe ac.count was closed in 2022; why is thcre a high balance staud in Novembor 20223 ?
          92, lf rhc accourt was closcd il 2022. how can thcrc bc a crcdit limit of $50O?
          93, Wblt is lh. cxact day thc itcm will bc rcmovcd ?

      Pdymcdt Hislory
      Tbc followirg is incomplete infornration which lhercfort makcs it inaccuratc
         94. Bdlncc for tbc month of novcrnbcr 201 8 is lcfl blank
         95. Balancc for *re month of dcccmbcr 20I8 is lcft blaok
          96. Balanc! for thc month ofjrnuary 2019 is lcR blank
          97- Balancc for thc month offbbnrary 2019 is lcft btank
          98. Balanct for 6c month of march 2019 is le0 blank
          99. Balancc for monah of April 2019 is left blmk
          100. Belancc br month of May 2019 is lefi blank
          I 01. Balancc for month ofJunc 2019 is lcR blank
          102. Bslilc€ for month of July 2019 is Ieft blank                                                  c
                                                                                                             c
          103. Balsncc formonthofAugust2019 is lcRblsnk                                                      c

          lO4. Balancc for month ofscptcmbcr 2019 is le0 blaol                                                c
          f05. Balancc formonth ofoctobcr2019 is lcftblank                                                   B
                                                                                                             IY
          106, Balance for month ofnovembcr 2019 is lcft btsnk                                               Y
           107, BBlancc for month of dcccmbcr 2019 is left blank                                             0
                                                                                                             0
          108. Brlnnce fotrnonlh ofjanuary 2020 is leftblark                                                 o
                                                                                                             o
          109. Balancr for month of fcbruary 2020 is left blstk                                              c
                                                                                                             o
           I 10. Balance for month of March 2020 is tcft blank                                               o
                                                                                                             o
                                                                                                             o
          I I t.  Balancc for monlh of April 2020 is len blank
                                                                                                             I
           I12. Balancc for month of May 2020 is lcft blank                                                  co
           I 13. Balancc for monlh ofjunc 2020 is lcft blmk
          I14. Balance br month ofjuly 2020 is lcft blank
           I 15" BBlanE for monlh ofAugust 2020 is left blank
           I 16. Balancc formonlh ofscptcmber 2020 is Icft blank
           I 17, Balancc for monlh otoctobcr 2020 is IcR blank
           t f 8. Balane for month ofNovcmbc 2020 is Icft blank
           It9. Balane formonthofdcccrnbcr2020 islcft blark
          I20- BrLrccformnthofJanuary202l iglellbla*
          t2l- Balance for month of Fcbruary 2021 is lcft blmlr
          l?2. Balancc formonth of March 2021 islcft blank
          123- Balancc formonth ofMay2O2l ie lcft blank




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         lZ4. Balancc for month ofjmc 2021 i: lcll blnnk
         I 25. Balqnca for month oljuly 2021 is left btrnk
         126. Balance formonth ofAugust202l is left blank
         127. Balance formonlh of scptcmbcr2021 is left blark
         128. Balmce forrhc monlh of octobcr 2021 is left blank
         129. Dalmcc for thc monlh of novcmber 202I is left blank
         l30. Balmcc for thc rnonth of Deccmbcr 2021 is lcft blank
         l3l. Balance for rhe month of hnuery 2022 is left blank
         132. Balance forthe month ofFebNEry2022 G leftblonk
         : 33. Balance for lhe month of March 2022 is lcft blank
         I 34, Balance for thc month of spril 2022 is left blank
          135. Bslancc for thc month of May 2022 is lcft blank
          136. Ealucc for the monlh of june 2022 is left blenl
         137. Balance tior thc monlh of july 2022 is left blank
          138. Balxnc€ for tb€ monlh of August 2922 i3 lcfl blant
         I 39. Balance for thc monlh of s.Ptcmbcr 2022 is lcft blsrk
           40. Balancc for tbe month of Oclobcr 2022 is lcft blank
             f

          l4l. Batancc for thc month ofNovcmbcr 2022 is left blank
          112, Bslmce for lhc month of Docembcr 2022 is left blurk
           4l. Balarce for thc month ofjanury 2023 is lcft blank
             f

         '144. Balarrce fortbc month offcbruary 2023 is lcft blark
          145. Balance for thc month of March 2023 is left bla*
          146. Balancc for tbc month ofapril 2023 is left blank
          147. Balancs for rllc rnonth ofmay 2023 is incomplctc and ftcrcforc inaccurale aS it shows m             o
                 rsothr ofs75o rarh.r tb"tr s750,m                                                                 o
             148- Balanm for thc monrh ofjunc 2023 is inaccrrrate and tlprcforc incomplclc as it shows an          I=
               amounl ofslO3 rathcr than 31 03.00                                                                  :Z
                                                                                                                   G
             149, Ealancc lbr 0rc monrh ofjuly 2023 is incomplcte and thercforc inaccurate as it shows an          q
                 amoht of S3,693 rathcr than S3.693.00
             150. Balance for the month of August 2023 is incomplete and lhcreforc inaccurate as it shows an       l
                 amomt of $3.829 rather than $3,829.00                                                             o
                                                                                                                   o
                                                                                                                   o
             15 l.    Balance for thc month ofseptember 2023 is incomplete qnd thereforc inaccurorc as il shows
                  an amount of$3,829 rather than 33,829
             152. Balance for the month of october 2023 is incomplctc rnd therefors inaccurotc as it shows nn
                  smount of $1,829 instcad of $3.829,00
             153. Balance for the month ofNovcmbcr 2023 is incomplete and tlcrciorc inaccurate as i! shows
                  m amount of$3,829 instead of53,829.fi)
             lJ4- Baloncc for the month ofdc.mbcr 2023 is incompletc and so inoccurate 8s it shows atr
                 atrrount of s3,E58 insrdd of 33,858.00



      Thc following are qucslioDs iD rcBErds to some misleadiog information which makcs thc rcport imccuratc
          155. Yourrccords indicatc thc account w8s charged oflin 2022. how can thcrc bc a high balancc
                 for thc month ofapril 2023?




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          I56, Your rccords indicate thc sggouttt was chargcd off in 2022, how can tbcre bc a hig! balancc
                     ofS820 for the month ofmay 2023?
          I    57, Your records indicale rhe Eccount was chargcd off'rn 2022. how can thcrc bc a high balance
                     of$820 for lhc month ofJunc 2023?
          I    58. Your rccords indicate rhc accounl wts chorgcd off in 2022, how can therc bc a high balancc
                     ofS8Z0 for thc month ofJuly 2023?
           I   59. Your records indicate the account was chargcd offin 2022. how can therc be a high balance
                     of$820 for thc montb ofAugust 2023?
           160. Your records indicare the account was charged off in 2022, how can thcrc be a high balaocc
                     of$820 for thc month of Augrrst 2023?
           I   51. Your rccords indrcatc thc Eccount was chargcd off in 2022, how csn thcre bc a high balance
                     of3820 for ihe ofscptcmbcr 2023?
           I62" Your rccords indrcarc thc 8ccountqras charged otrin 2022, how can thcrc bc a highbalancc
                     of3820 for the month ofOctobcr 2023?                                                           +1
           163, Your recods indicatc thc account w4s chBBcd otF in 2022, how can fterc bc a high balnncc            +4
                     of3820 for thc month ofnovcmbcr 2023?
                                                                                                                    ll
                                                                                                                    !r.
                                                                                                                    itJ
       The followi.ng is incomplete information which thereforc rnslcs it inaccurate                                I!
           I   e{.  Thc past duc amotmt for t}ra month of Novembcr 2018 is lefl blank
           165. Thc past duc urnrmt for the month of dcccmbcr 2018 'rs lcft blsnk
              166. Tbe pasr duc atmmt for thc month ofjanuary 2019 is lcft blant
              167- Tbe p&st duc atnount for lhc month offebruary 20t9 is lcft blenl                                  o
              168. Tbe pflst due amount for thc month of March 2019 is lcft blank                                    o
              169- The past due amount for thc urourh ofapril 2019 is left blnnt
              170. Tbe past duc amout for lhe monih of May 2019 is lcft blank                                        xY
              I 7l. Thc past due omount for the monlh of Junc 2019 is left blank                                     $
                                                                                                                     &
               172. Thcpastduc amount forthc monlh ofjuly 20)9 is lcllblank                                          I
               t ?3, The past due amount for thc month ofAugust 20 I 9 is left blank
                                                                                                                     c5

                                                                                                                     o
               174. Thc pasl due amount forthe rnonlh ofSeptember 2019 is Ieft blank                                 u
               I ?5. Thc post due smotmt for thc month of octobcr 2Ol9 is lcft blgnk
               176. Thc past due amount for thc month ofnovernbcr 201 9 is Icft blank                                I
               177, Thc past duc amount for thc month ofDcccmbcr 201 9 is lcfi blank                                 o
               I 78, Thc pasr duc arnouot for thc modh ofJanuary 2020 is lcll blank
               179- Tbc past due amormt for thc month of fcbrusty 2020 is left blank
               180. The pasl duc amount for thc monlh of march 2020 is lclt blonk
               I El. The psst duc amount for lhc month of April 2020 is lcll blank
               I 82. Thc past duc amount for lhc monrh of may 2020 is lcfl blaak
               t 83. The past duc amount for lhc month ofjunc 2020 is len blutk
               I84. The past due Bmount for the monlh ofjuly 2020 is left blank
               I 85. Thc pcsl duc a.mount for lhc month ofaugust 2020 is left blank
                I86. Thc pssl due amunt for rhc monlh of scptcmbcr 2020 is lcfl blgnl
                187. Ttc pest duc armunr for ftc mondl ofoctobcr 2020 is left blank
               I8E. Thc psst duc Emormt for ttc mondr of oovcmbcr 2020 is lcft blmk




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DF, L2   /Lu 2023 (00KC07) 2E. 16691s. 0s004531
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             189, Thc post duc Emount for lhe monlh ofdcccmb€r 2020 is lcft blank
             190. Thepast due amoun! forthemonthofjanuary202l is lcft blark
             I 9l- Thc past due amount for the month of fcbnrary 2021 is lefr blank
             I 92. The past duc amourl for the month ofrnarch 2021 is left blank
             19,. The past duc amoul for thc month of April 2o2l is lcft blmk
             I 94. Thc past duc amount for the monlh ofmay 202-l is left blanl
             195. Thc pen dlc srmurt lorthc month ofjmc 2021 is lefi brank
             196, Thc pasr duc amount for the month olJuly 2021 is left blank
             197. The pqst duc anourt fot lhc montb ofaugrst 2022 is 1sftltrnk
              198. Thc pqst drrc anrdunt for thc month of scptcmbcr 2021 is left blank
              199- Thc pesl duc smount for thc monlh of octobcr 2021 is Icll blank
             20O, Thc past duc aroount fior the monlh of novcmber 202 I is lcfl blant
             201. Thc past duc amount for thc month of dcccmber 202I is lcft blank
             202. Thc past due amount for (hc month oljanuary 2022 is left blank                                -I
                                                                                                                ::J
              zOJ, Thc prsl duo amount for the monlh offcbnrary 2022 is lcR blank                               i{
                    The pst due anrount for the monlh of much 2022 is left blank                                ili
             "o4, Thc past due amount for lhc monlh ofapril 2022 is left blank
             205.                                                                                               lr
             206- The pBst duc Bmount for thc month of may 2022 is lcll blank                                   .1.
             2O7. Thc pst duc atnount for tbc oonth ofjune 2022 is lcft blank                                   t:.
             208. Thc pssl due smou(t for thc monlh ofjuly 2022 is lcft bLank
             2Og. Ttc psr duc arnormt for thc monft of august 2022 is lcft bhnl
             210. Thc past duc arnotnt lor lhc month ofscptembcr 2022 is left blant
                                                                                                                     c
             2 t 1, The pasr due arnotmt for thc monlh of octobcr 2022 is lcft blank                                 c
             212. Thc posl duc 8motmr for tbc month of Novqmbcr 2ff22 is Icfl bln"k                                  c
                                                                                                                     c
             213- Tbc past duc mrmt for thc mouth of drccmber 2022 is left blank                                     c
                                                                                                                     3
             214. The pasl duc amount for lhe monih ofjanuary 2023 is lefl blank                                     I
                                                                                                                     v
             215, Thc past duc amount for thc month of fcbruary 2023 'rs lcft blank                                  o
             216. Thc past duc amount for tbo month of march 2023 is IcR, blmk                                       o
                                                                                                                     cc
             217. The pest duc amount for the month ofApnl 2023 is left blsnk                                        cc
              218.   Thc p0sl duc amount for thc monrh ofMay 20tj indimtcc I was past duc but it says 50             s
                                                                                                                      c
                                                                                                                      c
              2lg. The pmt duc amount for the monlh of August 2023 is incomplctc and so insccuratc es it              c
                  Ehows qn amount of$273 instead ofS273'00
              2ZO- Thc psl duc amount for thc month of Scptembcr 2023 is incompletc as it shows an smounl            I
                of$S1 I instcad of SSI 1.00
              221- The past duc smount for the monlh of Oct'ob€r 2023 is incomplcte as it shows an afiount of
                3773 instcsd ofS773.00
              ZZ2, Thcpastduc amounrforthc month ofNovembcr2023 is incomplcrcand so inaccuralc s it
                  shows an arnouil of S93 I instead of $93 I .00
              221, The past duc emourt for thc monrh of Dccmber 2023 as it shows 8n smouot of $l '0E9
                  in*cad ofSl.089.00




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DR L2/LZ/2023 (00KC07) 29.166919.0s004531
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      The following arc qucstions in regards to sorne misleading information whiclr makes thc rcport inaccurate
          224"    Your rccords indicatc the Bccount wns charged offin 2022. how can therc be a past duc
              amount for the month of aPril 2023?
          225" Your rccords indicatc thc sccount was chargcd offin 2022, how csn there bD o Past due
              smount for mey 2023?
          226, your rcronds indicarc the account was chargcd offin 2022, how can rhcrc bc r past dua
              smount for thc month of Junc 2023 ?
          227. Your rccords indicale the account was chaGed offin 2022, how can theru bc a Past duc
              amorDt for luly 2O23 ?
          228, Your recOrds indicxtc thc account was charged offin 2022. how csn rherc bc a Dst dttc
              s-6ount fot fic month of ougfst 2023?
          229. Your rccords indiete thc accounr was charged o{fin 2022, how can there bc a past due
              amourt lbr ihe montb of September 2023?
          230. Yout r€aords indicate the account ryas charged offin 2022, how csn there bc a past due             .fir
              amounl for lhc month ofoctober 2023?                                                                }J
          231.   Your rccor& indicstc thc account was chargcd offiD 2022. how can thcrc be a past duc
                                                                                                                  #
          .   amounl for lhc month ofnovembcr 2023?
                                                                                                                  I'l
          232.   Your records indicate lhe acrount wos chorgcd offin 2022, how cen *terc be a past duc
              amount for Decembet 2023?                                                                           t
      Bank OF Anrcrica 6501 005E   14"r'                                                                            o
                                                                                                                    o
                                                                                                                    o
         233" This accounr was poid in full, Eo how is it chrrged    ofl                                            o
          234.  Why docs it oot reflect rhqt thc wholc morut was paid
          235.  How cln rhcrc bc a high bolancc of 3 9J28 iftie uccormt was paid in ftrll?                          I
          236.  Ilow qn thm bc a high balmcc if thc acmult is an auto loan?
                                                                                                                    L
          237- Thc rcmuk is incorrect stating it is on unpaid balancc end charge ofri lhis account was pnid in      &
              {bll
                                                                                                                    o
                                                                                                                    o
                                                                                                                    o
      The following ir incomplctc infomalion which makqs it inaccurstc                                              o
          238.    The balancc is missing for the month of Novcmber 2021                                             o
          239,    Thc balsncc is missing for the monlh of december 2021                                             o
          240.    The balonce is missing for lhe month ofjanuary 2022
          241.    Tbc bolance is missing lor thc month of february 2022
          242.    Thc bolancc is missing for the monlh of march 2022
          243.    The bslance is missing for lhc month of april 2022




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         244. Thc balancc is missing for thc mon6 of may 2022
         245" The ba.lanc€ is missing for the month ofjune 2022
         246" Tbc balancc is missing for the month ofjuty 2022
         247- Tbcbelancc is missing for ihe monttr ofaugus 2022
         248. Tbc balmcc is missing for the monlh of scprcmbcr 2022
         249. Thc balsncc is missing forthc month ofoctobcr 2022
         250. Thc balancc is missing for thc month ofnovcmbcr 2022
         251. Thc bElancc is missing for lhc month of dcccmber 2022
         252. Thebalance is missing for the month ofjnnuary 2023
         253. The balancc is missing for thc monlh of fcbntary 2023
         254. Thc bslancc is missing for thc monlh of mstch 2023
         255. Thc bslsncc is missing for ihe month ofapril 2023
         256, Thc balance is missing for tfie month of may 2023
      Tbc following is incomplac and thcrcforc inaccunle                                                      Li
                                                                                                              :t:
          257. The balancc for thc month ofjunc 2023 is incornplctc and thacforc inaccuratE Ls it should bc   lrl
               sboeu s $7.680.tF insrcad of$7,680.00
                                                                                                              ilt
          258" Tbc bolancc for tbc roonth ofjuly 2O23 is ircomplcte and thtreforc insacuratc as it shows m
              amorrrr of f7.759 inscad of S7,759.0O                                                           ='f
         259. Ttc balsncc for tlre month of auEust 2023 is incomplete md thereforc inaccuralD as it shows
               $7,838 instrd of S7,838.00
          260" Tbc bolsnc. for tftc month of scprcmbcr 2023 is incomplctc and so inaccuratc as it shocd an
              amount of S7.915 instad of $7.915.00                                                             o
          261, Thc amount for lhe monlh ofetober shows an mount of S7,994 instcod of $7,994.0O
          262. Thc a$ount for the month ofnovembcr 2022 shows an ollrount of$8,068 instcad of                  o
              $8,068.00                                                                                        I
                                                                                                               )z
                                                                                                               sL
                                                                                                               L
            THe following is incomplete and so inaccuratc information                                          6
                                                                                                               o
          263. Past due amount for the month ofNdvcmher 2021 is missing                                        o
                                                                                                               o
                                                                                                               o
          2M.  Past due amount for tbe month of dcccrnbcr 2021 is missing
                                                                                                               o
          265. Past due amormt for tbe month ofjanuary 2022 is missing
                                                                                                               o
          26f..Past duc amounl for tbe month of fcbnrary 2022 is missing
          267. Pasr due ernoulr for the month of march 2022 is missing
          268. Past due arnotmt for rhe month ofapril 2022 is missing
          269. Past duc unounl for drc fiIoDth ofmay 2022 is missing
          27O. Past duc anrounl for rhc nnnth ofjurrc 2022 is missing
          271" Past due amount for tlc rmnth ofjuly 2022 is missirg
          272- Past duc amount for ttc monih ofauglslz022 b missing
          27J. Past drJc unoont for tbc nronth of scptcmbcr 2022 is missing
          274, Pest due
                         "rlount for the month of
                                                  octobet 2o22 is rnising
          275" Past duc amount for lhc monih of novcmbcr 2022 is misshg
          276, Past duc amount for the month of dccanlrl 2022 is missing
          277, Past duc amount for the month ofjanuary 2023 is missing




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DR tz/L?/2023      (00Kc07) 31. 166919.0s004531
                                                                        cM # 9589 0710 5270 0338 4319 o+
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         2'18.      Psst due Bmount for thc month olfcbnrary 2023 is miesing
         279.       Past due smount for tlrc month of march 2023 is missing
         280.       Pgst due Emount for thc month of april 2023 is missing
         2El.       Past duc amount for the month of may 2023 is missing
         282.       Past duc Ernounl lor thc month of


         283, Whar was the arnounr paid for the month of novcmbcr 2021 ?
         284, Whel was rhe amout ptid for thc month of Dc*mbcr 2021 ?
         285. Wbat was lhe amounl paid for the month ofjanuary 2022 ?
         286. What was the amorurt paid for the monrh of february 2022?
         287. Wh8t was lhc smounl paid for thc month of march 2022?
         288. What was lhe amount paid for thc monih of April 2022?
         259, Wbat was thc amount paid for thc month of May 2022?
         290. Whar was thc amount paid for the month ofjunc 2022?                                            {:1
         291 . What var lhe amout paid for the monrh ofjuly 2022?                                            ill
                                                                                                             ..'Y
         292- Whrl was the anormt paid for rie month of august 2022?
         293. Whal wns thc anount paid for thc month of scptembcr 2022?
                                                                                                             il
         294- Whst war thc asormt paid forthc month of octobcr 2022?                                         lrl
                                                                                                             .I
         295. What wr the mmt poid for lhc month of uovqnbcr 2022?
         296, Wlrar w&s thc irnout psid for thc m6nth of dccfinbcr 2022?
         297. What wss the omount paid for thc month ofjanuary 2023?
         298, Whatwas thc amount paid for the month offcbruary 2023?
         299, WhEt wf,s the amount paid for the mondr of march 2023?
         300. Wbat wm lhe mount paid for thc month of april 2023?
         l0l. Wbat was lhc amounl paid for the month of may 2023?                                                  o
         !O2. What war rhe amounl psid for lhe month ofjue 2023?'                                                 I
                                                                                                                  v
         303. Wbat was the amormt peid for thc month ofjuly 2023?                                                 Io
                                                                                                                   0
         304. My rccords show in Novcmbcr 2021 hank ofamcrica reccivcd a significant nmount of                     o
                 money. so how is the arnount paid for the month ofnovembcr 2023 $0?
                                                                                                                  o
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      BEST BLIY/CBN A426937 203426'         J''

      Amulinformtion
         305. Thc acmunt oumbcr is inmmplcrc as it is missing rhc last 4 digits 8nd is so inaccurarc.
         305. If thc sccout was chargcd offin 2022 how can there bc o hieh bslsncc for2O23'!
         307. What is thc eract dsle lhis nccomt will bc removcd?
         308. How cln thcrc be o crcdit limit of$1,000 in 2023 iflhc account was chargcd offin 2023?

      Psymcnt History
      The following is incomplclc and thercforc insccurarc




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DR L?/LZ/2023 (00Kc07) 32. 166919. 05004s31
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         309.    Thc balancc for the month of morch 2021 is missing
         3 10,   TIe balsncc for the month of april 202I is missing
         3l t.   The batancc for lhc month of may 2021 is missing
         tt2.    Ttc balancc for rhe month of june 2021 is rnissing
         3 13.   Thc balancc for thc month ofjuly 2021 is missing
         3 14.   The balancc for thc month ofaugust 2021 is missing
         3 I5.   Thc balsncc for the month of september 2021 is missing
         3 t6.   Thc balancc forthc month ofoetober 2021 is missing
         3 17.   Tbc balancc for the month of novemb€r ?021 is missing
         318.    The baloncc for thc month ofdeccmber 2021 is missing
         3 19.   Thc baloncc for thc month ofjanuary 2022 is missing
         320.    Thc balancc for thc monlh of february 2022 is missing
         32I.    The belance for thc month of march 2022 ic missing
         t22.
         323.
                 Tbc bohncc for thc monih of april 2022 is missing
                 Ttrc balancc for thc month of may 2022 is missing
                                                                                                          #
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         724.    Thc balancc for thc month ofjmc 20?2 is missing
         325.    The bslartce for thc month ofjuly2022 is missing
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                                                                                                          lr,
         326.    Thc bstsrrcc for tlrc roonth of august 2022 is missing                                   :rl
                                                                                                          .1.
         327.    Thc balancc for thc month of soptcmbd?oz? is mirsbg                                      l:.
         328.    Thc balance for $c month ofoctober 2022 is missing
         329-    Thc bolurrcc for thc month ofnovetnb€r 2022 is missing
         330.    Thc ballncc forthc month ofdcccmbcr 2022 is missing
         33 r.   The bolancc for the month of january 2022 is missing
         132.    Tte bolancc for the monlh offebruary 2022 is micsing
         333.    Thc balancc for tbc monah of march 2022 is missing                                        o
         334.    Thc balancc for thc month ofapril 2022 is missing                                         B
                                                                                                           I
         335.    Thc balarcc for thc month of may 2022 is missing
                                                                                                           v
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         336.    Thc balsnce for the month ofjunc 2022 is missing
                                                                                                           G
         337.    Thc balance for thc month ofjuly 2022 is nissing
                                                                                                           o
                                                                                                           o
         338-    The balance for the month ofrugust 2022 is missing                                        9
         339.    The bslancc for tbc month of septernber 2022 is missing
                                                                                                           o
         340.    The balance for thc monlh of crobcr 2022 is missing                                       o
                                                                                                           o
                                                                                                           o
         34t.    Thc balancc for thc month of novcmbfi 2022 is mising
         342.    Thc balancc for thc montb ofdcccmber 2022 is missing
         343.    Thc balance for thc monthjanuary 2023 is missing
         344_    Thc bolancc for lhc month february 2023 is misting
         345,    The balance for thc nronth uurch 2023 is missing

         346.    I-ncluding lhc cctrt what is the mmpletc balancc for the monlh of npil zOZt?
         347.    Including thc cent, what ;s the completc balaocc for the month otmay 2023?
         34E.    lncluding tbc ceot, wbat is the completc balance for the month ofjune 2023?
         349,    Including the cenl, whrt is thc complctc balance for the montb ofjuly 2023?
         350.    Including the cent, whst is the complcte balance lor thc month of august 2023 ?
         35 r.   lncluding lhc ccnl, wbat is the complcte balance for the vnonth ofSeptcmber 2023?




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DR t2/L2/20?3 (00Kc07) 33.16691s.0s004531
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         352.      Including the ccnt, what is tbc complclc balmcc for thc month of Octobsr 2023?
         353.      Including thc ccnt, what is thc complctc balatre for thc rnonth of novcmbcr 2023?
         354.      Inctuding rhe cent, what is thc complete balancc for the month of dectmbst 2023?

         355. What is the put duc amout for thc month of march 2021?
         356. Wh.et is lhc ptst duc amount for thc month of Aprit 2021?
         357, WhBt is thc pnst due omounl for the month of May 2021?
         358. What is thc past duc amount for tlc monrh ofJunc 2021?
         359. Whst is thc past duc arnount for thc month of July 2021?
         360. Whst is ftc psst duc lrnourt for thc nronlh of Auguct 2021?
         36t" whu is thc past duc aEount for ihc rnonth of Septeml'Er202l?
         362, Wbst is ftc past duc amount for thc rnoath of Oclobc'' 20212
         363. What is thc past duc amount for drc month ofNovembcr202l?
         364. What ic dE past due lrnount for thc month of Dccembcr 202 I ?
         3 65. What is the past duc amount for thc month of Jnuary 2022?
                                                                                                            iil
                                                                                                            a.'i
         356. Wlrat is thc past duc amount for thc month of fcbruary 2022?
         367, What is thc plst duc amount for $c monlh of march 2022?                                       #
         368, Wlat is rhe pasl duc amount for tlc month of Apnl2022?                                        - t-
         3 69, What is tbe pasl duc srnormt for thc month of may 2022?
                                                                                                            g
         370. Whar ie thc pest duc 8noutrt for tlE month of Junc 2022?
         3?1. tf lhc rccotEt was chargcd offhow can rherE bc a pasr duc amount fot the months following
                Jtmc 2022?
          172. Why docs the informstion nol show thc payments ivc made pilor lo lhe accounts being
                cbarged off
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      Discover Bsnk-60l I 0 I 0O328t"'
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      Ac.ount information                                                                                     o
                                                                                                              N
          373, How can tlrcre be a balance of3268 ifthe account was chargcd ofP
                                                                                                              o
          374, If the accout was chargcd off in 2022. how can thcrc bc a high balarce lor 2023?               o
          375, How can therc b. ! crcdit limit ifthe account was chargcd ofi?                                 o
                                                                                                              o
          376, lvhet is thc cxxct day thc account will be removcd ?
         377. Wlty ls tbc balance missing for the month of Deccmber 2021?
         378. Why is t}e balarce missing for tbc monlh of Jsnusry 2021?
         379. Why is thc balam missing for thc month of fcbrurry 2021?
         3t0, Why is orc balancc missing for thc mooth of march 2ml?
         381. Why is thc balarcc missing for thc mooth of April 2021?
         f,82. Wby is $c brrancc misiag fior be oonih of May 2021?




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oR L2/!2/2073 (00Kc07) 34. r.66919. 0s004s31
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         383. Why is thc balancc missing fordrc month of Jure 2021?
         384. Why is ihe balancc mi$Ting for lhc month ofjuly 2021
         385. Why is tha balance missing for tle month of August 2021?
         3E6, Why is the balancc missing forthc monlh of septcmbcr202l
         387, Why is thc balancc missing for tlc month of Octobcr 2021?
         388" Why is the balancc missing for thc month of novemb€r 2021?
         389. Why is thc balaacc missing for the monlh of Dccembcr 2021?
         39O. Why is ftc balance missing for drc monlh of January 2022?
         391. Why is thc babncc miqqilg fss thc donth of fcbruary 2022?
         392. Why is thc balance missing for thc month of march 2022?
         393- Why is thc balme mising for tbe monlh of April 2022?
         394. Why is thc balancc missing for thc month of May 2022?
         395. Why is the balance missing for the month ofJune 2022?
         396- Why is the balance missing for the month ofJuly 2022?
         397. W}y is thc balancc missing for the monlh of august 2022?
         398. Wty is the balurcc missing for thc month of Septembcr 2022?
         399. Why is thc balancc missing for thc rnonth of Oclobcr 2022?
         400. Why is ilrc balmcc missing forthc nnnlh of novambct 2022?
         401. Why is thc belmcc missing for thc month of Dccembcr 2022?
         402. Why ir the balancc missing for thc month of Jarury 2022?
         401. Why ie thc balance miesing for the month of fcbruary 2022?
         4O4. Why is thc balarcc missing for thc monlh of mareh 2022?
         405. Why is the balance missing for ilre month of April 2022?                                        o
         406. Why is ihe bslance missing for rhe month of May 2022?                                           o
                                                                                                              o
         407- Why is the balancc missing for tlc month of Juac 2022?                                          o
         40E. Why tu lhc balancc missing for thc month of July 2022?                                          T.
         409. Why is the balancc missing for tbc monrh of trugust 2022?                                       v
                                                                                                              Y
         410. Why is thc balance missing for thc month of Sepambcr 2022?                                      L
                                                                                                              L
         4l I. Why is the balancc missing for tbc mon$ of Octobcr 2022?                                       6
         412- Why is the balance missing for thc month of november 2022?                                      o
                                                                                                              a
         413- Why is thc balancc missing for the month of Dcccmbcr 2022?
         414- Why is the balance missing for the month of January 2023?                                       o
                                                                                                              o
         415. Why is the balnnce missing for thc month of februsry 2021?
         416. Wlry is thc bilancc missing for thc month of march 2023?
         417, lfthc sccount was chargcd ofin 2022 why is thcte balanccs for2023?

         418. Whrt is tlc p6sl due mormt for ttrc month of Dcccrnbcr 2021?
         419. Wbat is thc past duc amormt for thc month of Janary 2022?
         420. Whot is rbe psst duc rmount for the month of fcbruary 2022?
         421. Wbat is the past due Dmount for the month of march 2022?
         422. What is thc past dus amount for the month of april 2022
         42t" Ifthc account was chargcd offin ap,ril how can thcrc bc a past duc amount for thc monlhs
            following?




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DR I2/L2/2023 (00Kc07) 3s.166919.05004531


                                                                             cM # 9589 0710 5270 0938 4319 04
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                    Verizon Wireless-S8943 I 4090** **

                  Account information
                424. Thea account number is incomplete and so inaccurate as it does not show the last 4 digils
                425. Under account type it states this is an open account, but under pay stahr it states the account
                  to be in collections; How can that be so?
                426. Under payment received it shows that I've never paid Verizon and I had service for a year.
                  How can that be so?                                                                                   *ii
                427. Loan type; according to you'se I received a telecommunicationV cellular loan, this is in fact
                  incorrect and so inaccurate, I never received a loan from verizon.
                                                                                                                        ilir'
                428- What is the exact date this item will be removed including the day.                                ir,
                                                                                                                        rL

                    Payment history
                429" What is the exact balance, scheduled payment, and past due amount for the month of                   cc
                                                                                                                           o
                  february 2021?                                                                                          o
                                                                                                                          o
                430. What is the exact balance, scheduled payment, and past due amount for the month of march             B
                                                                                                                          I
                                                                                                                          Y
                    202t?                                                                                                 Y
                                                                                                                          o
                431. What is the exact balance, scheduled payment, and past due amount for the month of april             o
                                                                                                                          a
                                                                                                                          o
                    202t?                                                                                                 o
                                                                                                                          o
                                                                                                                          q
                432. What is the exact balance, scheduled payment, and past due amount for the month of may               o
                                                                                                                          o
                    2021 ?
                433. What is the exact balance, scheduled payment, and past due amount for the month ofjune
                    2021
                434. What is the exact balance, scheduled payment, and past due amount for the month ofjuly
                    2021
                435" What is the exact balance, scheduled payrnent, and past due amount for the month of August
                    2021?
                436. What is the exact balance, scheduled payrnent, and past due amount for the month of
                  Septernber 2021,?
                437, What is the exact balance, scheduled paJrment, and past due amount for the month of
                  October 20212
                438. What is the exact balance, scheduled payment, and past due amount for the month of
                  November 2021?
                439. If the account was charged off or closed in november 2021why is there a rating, and why is
                  the rating unknown for the month of december 2021?
                440- If the account was charged offor closed in november 2021why is ttrere a rating, and why is
                  the rating unknown for the month ofjanuary 202??
                441. If the account was charged off or closed in november 2O2l why is there a rating, and why is
                  the rating unknown for the month of february 2022?
                442. If the account was charged offor closed in november 2021why is there a rating, and why is
                  the rating unknown for the month of march 2021
                443- If the account was charged offor closed in novembet 2021why is there a rating, and why is
                  the rating unlanown for the month of april 2OZl?




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DR LIILZ/ 2023 (00Kc07) 36. r-66919. 0s004s31


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                 444- If the account was charged off or closed in november 2021why is there a rating, and why is
                   the rating unknown for the month of december2l?l2
                 445. If the account was charged offor closed in november 2021why is there a rating, and why is
                   the rating unknown for the month of january 2022?
                 446. If the account was charged offor closed in november 2021why is there a rating, and why is
                     the rating unknown for the month of february 2022?
                 447 .    If the account was charged off or closed in november 2021why is there a rating, and why is
                       the rating unknown for the month ofmarch 2022?                                                      #l
                                                                                                                           *.t
                 448. If the account was charged offor closed in november 2021 why is there a rating, and why is           l'lr

                      the rating unknown for the month of april 2022?                                                      fr
                                                                                                                           !r'
                 M9" If the account was charged offor closed in november 2021 why is there a rating, and why is            : f.J
                                                                                                                           rI
                      the rating unknown for the month of may 2022?
                 450. If the account was charged offor closed in november 2021 why is there a rating, and why is
                      the rating unknown for the month ofjune 2022?
                 45 I .    [f the account was charged offl or closed in november 2021 why is there a rating, and why is      o

                      the rating unknown for the month ofjuly 20227                                                          3
                                                                                                                             rY
                 452. If the account was charged offor closed in november 2021 why is there a rating, and why is             q

                      the rating unknown for the rnonth of august 2022?                                                      o
                                                                                                                             o
                                                                                                                             o
                 453- If the account was charged offor closed in november 2021 why is there a rating, and why is             Y
                                                                                                                             o
                                                                                                                             o
                                                                                                                             o
                                                                                                                             o
                      the rating unknown for the month of september 2022?                                                    o
                 454. If the account was charged offor closed in november 2021why is there a rating, and why is              o

                      the rating unknown for the month of october 2022?
                 455, If the account was charged off or closed in november 2021 why is there a rating, and why is
                      the rating unknown for the month of november20222
                 456- If the account was charged offor closed in november 2021 why is there a rating, and why is
                   the rating unknown for the rnonth of december 2022?
                   " If the account was charged offor closed in november 2021why is there a rating, and why is
                 457
                   the rating unknown for the month ofjanuary 20232
                 458. If the account was charged offor closed in november 2021why is there a rating, and why is
                   the rating unknown for the month of february 2023?
                 459. If the account was charged off or closed in november 202L why is there a rating, and why is
                   the rating unknown for the month of march 20232
                 460. If the account was charged off or closed in novembe r 2021 why is there a rating, and why is
                   the rating unknown forthe month of april 20232
                 461. If the account was charged offor closed in november 2021why is there a rating, and why is
                   the rating unknown for the month of may 20232
                 462- If the account was charged offor closed in november 2021why is there a rating, and why is
                   the rating unknown for the month ofjune 2023
                 463. If the account was charged offor closed in november 2021why is there a rating, and why is
                   the rating unknown for the month ofjuly 20232
                 464" If the account was charged offor closed in november 2O2l why is there a rating, and why is
                   the rating unknown for the month of august 2023?
                 465. If the account was charged offor closed in november 2O21why is there a rating, and why is
                   the rating unknown for the month of september 2023?




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DF, L2 /L2/2023   (00Kc07) 37. 166919. 05004531

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                    466. If the account was charged off or closed in november 2021 why is there a rating, and why is
                        the rating unknown for the month of october 2023?



             Capital One 4003448 89697** **

             Account information
                467. The last 4 digits are missing in the account number which makes it incomplete and so                    f{
                                                                                                                             :'l
                        inaccurate.
                    468. The balance on the account is reported as $0 but there is a high balance of $1,111, how is that     ilbt
                           so?
                    469.         Why aren't the payments made being reported?
                    470.         Why aren't the past due amounts being shown?
                    471.         Why aren't the scheduled payments being shown?
                    472.         What is the amount paid as agreed to justify an OK rating for the month of April 202L?        o
                    473.         What is the amount paid as agreed to justiff an OK rating for the month of may 20212         I

                    474.         What is the amount paid as agreed to justiff an OKrating for the month of June 2021?         L
                                                                                                                              c
                    47s.         What is the amount paid as agreed to justiff an OK rating for the month of July 2021?        o
                                                                                                                              8
                                                                                                                              o
                    476,         What is the amount paid as agreed to justiff an OK rating for the month august 2021?
                                                                                                                               o
                    477.         What is the amount paid as agreed to justifu an OK rating for the month september 20212
                                                                                                                               o
                    478.         What is the amount paid as agreed to justiff an OK rating for the month of October 20212
                    479.         What is the amount paid as agreed to justiS an OK rating for the month of november 2021?




              EQUIFAX

              AMEEzuCAN EXPRESS xxxxxxxxxxxxx 5283

              Summary

                    480. What is the available credit ?



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      *** 423065055-043 ***


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                                                                                       Information for Good-

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LENSENDRO LAGUERRE
25 BROAD STAPT4
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NORWALK, CT 06851-6185                                                 gi2.{^;"r" /   fiiv^ Trr',,^Jurri o n
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                                                                                                                     o
 Dear LENSENDRO LAGUERRE,                                                                                           B
                                                                                                                     o
                                                                                                                    IY

 We understand that recently something on your credit report did not seem right to you. We take this matter YaI
 seriously, and we want to make sure your TransUnion credit report is accurate. lt's our commitment to you.   o
                                                                                                              o
                                                                                                              o     o
                                                                                                                    L
                                                                                                                    o
                                                                                                                    o
 Our investigation of the dispute you submitted is now complete. After a review of your dispute and any Io
                                                                                                         o
 provided documentation, we took one or more of the following action(s):                                 o


 1. Updated your credit report based on the information you provided; OR
 2. Determined that the information you disputed either does not appear on your credit file or already shows
      the requested status; OR
 3. Determined that the data furnisher had previously verified the reported information. lf any of the items
    you disputed were previously verified, a separate communication was sent to you listing those items along
    with the data furnisher's contact information; OR
 4. Asked the data furnisher reporting the information you disputed to do all of the following:
             .
           Review relevant information we sent them, including any provided documents
             .
           lnvestigate your dispute and verify whether the information they report is accurate
             .
           Provide us a response to your dispute and update any other information
             .
           Update their records and systems, if necessary;

 Should you wish to receive the above description of the procedures we used to investigate your dispute in a
 separate communication for your records, please contact TransUnion'

 Your dispute is important. ln the pages that follow, you will see your detailed investigation results, including
 the name and contact details of the source of the information. Please review the results carefully. To view a
 full copy of your credit report and for more information about how to read your credit report, please visit
 wrnrw.transu n ion.com/fullreport.



                              How to Read Your lnvestigation Results
 You will see that, for each disputed item, a summary explanation appears in the gray box, followed by a brief
 paragraph describing the results of our investigation, followed by a view of how the item appears in your
 updated credit report. Please note any changes we made to personal information (name, address,
 employment, SSN, date of birth) will appear at the end of Your lnvestigation Results.


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     File Number:       423065055                   Page 2 of 9
     Date lssued:       1212312023

     A Note on Credit Report Updates
     lnformation in your credit report is updated frequently which means items you disputed may not appear on
     your credit report or have already changed by the time we received your dispute. ln most cases, the Date
     Updated represents the last time the account information was updated or reported by the data furnisher.
     Please note that this date may noi change following our investigation of your dispute. For Payment Received
     and Last Payment Made, please keep in mind, the data may not represent very recent payment activity.

     lf information was removed or updated as a result of your dispute, the "Your lnvestigation Results" section
     below will note that an update was made. An update can include a change to the information or the removal
     of the information entirely from your credit file. For example, if a field was removed as a result of your dispute,
     the description will indicate that a change  was made to that field. lf information was removed, it will no longeld.l
     appear in the account details.
                                              -                                                                         I:
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     Definitions                                                                                                              #
     For your reference, here are some definitions to help you understand Your lnvestigation Results.

     For AGGOUNTS:
     Balance: The balance owed as of the date the                 Original Charge Off: lf applicable, the amount
     account was verified or reported                             charged off due to non-payment of the account
     Gredit Limit: The maximum amount of credit                   Past Due: The amount past due as of the date the
     approved by the creditor on the account                      account was verified or reported
     Date Opened: The date the account was                        Pay Status: The current status of the account; how
     Opened                                                       you are currently paying. For accounts that have
                                                                  been paid and closed, sold, ortransferred, it
                                                                  represents the last reported status of the account.
      High Balance: The highest amount ever owed on an Remarks: lf applicable, the creditor may provide
      account                                          additional information here related to the account
      Last Payment Made: The date the creditor                    Responsibility: The type of contractual ownership
      received the last payment on the account                    (individual, joint, authorized user, etc.) of the account
      Maximum Delinquency: lf applicable, the                     Terms: The monthly payment amount or monthly
      maximum amount past due before an account                   minimum payment due on the account
      becomes a charge-off or a collection account

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5    Historical Trended Data
D    Accounts on your credit report may include historical account information, which TransUnion has collected
     from account updates provided by your creditor for up to 30 months. On your credit report, this historic;al
     trended data may have appeared in a grid below each account along with information reflecting the
     timeliness of your payments and may include the following data: Date Updated, Balance, Amount Due,
     Amount Paid, Past Due, Credit Limit, High Balance and Remarks.
I
     Please note: Once an account is disputed, the historical trended data is removed from your credit file and will
     not be displayed on these results. However, the rating information reflecting the timeliness of your payments
     will remain and reflect any updates provided by the creditor, if applicable.
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Date   lssuod:       1212312023

Rating Key
Your accounts may also include up to 84 months of rating information. Some creditors report the timeliness of
your payments each month in relation to your agreement with them. The ratlngs in the key below describe the
payments that may be reported by your creditors. This rating key will help you understand any updates to
your PAYMENT HISTORY, if applicable to YOUR INVESTIGATION RESULTS. Any rating that is shaded or
any value in the account detail appearing with brackets (> <) may indicate that it is considered adverse.

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      Date         lssued:          1212312023

      TransUnion Gredit Score
      LENSENDRO LAGUERRE

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       YOU R         GREDITSCOREi.
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                         Yo1 Scce & Grade                                 Score & Grade Rarqe                                WhereYou Rank
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                                 Grade                                  Unavailable                                     Unavaitabte
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            Based on yanr TransUnlon credlt report, this is a   The numerical score rangps frorn 850 to 300   Yorr credit ranks higher than -% of the nation's
                  deprictim cf your creditworlhiness.               equaling grade ranges from A to F.                          population.

      Summary
      Yot did not order aTransUnloo credlt score. You can prrchase yolrcredit score for$9.95 by calling 1-866-SCORE-TU or 1-86&,726-7388.                           o

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File Number:         423065055                     Page 5 of   I
Date lssuod:         12t2312023



                                         Your lnvestigation Results

  INVESTIONTION RESULTS . DISPUTED INFORMATION UPDATED AND OTHER-INFORMATION
  UPDATED: 'A change was made to the item(s) b.ased on your dispute and other information has also
  changed. i,:

 BANK OF AMERICA NA#6501005814"'** (201 NTRYON $TREET, NC1-022-08-15, CHARLOTTE, FL28255, (800)215S1e5 )
 We investigated the information you disputed and updated: Balance; Past Due; Pay Status; Terms;
 Remarks; Maximum Delinquency; Payment Received; Historical Trended Data. Here is how this item fi
 appears on your credit report following our investigation.                                                          *
 Date Opened:     11nBf2O21              Balanco:            $0               Pay Status: >Account paid in FUll: wasil:,
 Responsibiltty: JdntAccount             Dat€ Updated:       11'3012023                     Chargeoff<            ..:{+
 Account Type: . lnstallment Account     Payment Receivsd: O3lO2J2On ($S,068) Terms:        $0 permonth, pakl MonhBrl
 Loan Type:'     AUTOIilOBILE            t.ast Payment Made: 03rcA2A23                      for 60 mmlhs
                                         Hlgh Balance:       $9,328           Date Closed: 11BU?fJ23
                                         Origlnal Chargeoff: $8,068           >MaHmum Dellnquencyof 120 days ln
                                                                                                           0712f.23 and in 1C/2023<   o
 Romarks: >PAID lN FULLMAS A CHARGE OFF<                                                                                              o



Ratlng


Rating



 CAPITAL ON E #400344889697*** ( P O Box 31293, Salt Lake Chy, UT M131, (800) 955-7070 )                                              E
 We investigated the information you disputed and updated: Remarks; Rating. Here is how this item appears
 on your credit report following our investigation.
 Oate Op€ned:      O3nSnVzl               Balanco:           $o          Pay Status:  Paid, ClGed;was Pald as
 Rosponsiblllty: lndiMdual Account        Date U@ated:       1U0112021                agreed
 Account Type:     Rer/orv-ng Account     Last Paymont Made: 12t01t2021  Terms:       Paid Monthly
 Loan    ryp€:      cREDlr   cARD             ::::,?llilf'
                                                                    $1,111                 Date Closed:
                                                                                           Dats Paid:
                                                                                                           12tjln21
                                                                                                           12n1tn21
                                                                    $1,000

 Romarks: DISP INVG COMP-RPT                     BY CREDIT GRANTOR CLOSED

Rallng                              OK                 OK                    OK




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     Filo Numbsc          42306s055                      Page 6 of 9
     Dato lssued:         12t23t2023



       NV                   RES U LTS VERIFIED AND UPDATED: The;disputed item(s) was verified as
       bel ong !n g tpi:Yo u a n d inform ation ha's changed or been updated
                                                                        't
                                                                             to reflebt
                                                                                    '
                                                                                        recent activity.

      BANK OF AMERIC A#552433284103**** (201 NTRYON STREET, NC1{22-08-15, CHARLOfiE, NC 28255, (800) 421-2110 )
      We investigated this item, verified it belongs to you, and updated: Balance; Date Updated; Past Due;
      Rating; Historical Trended Data. Here is how this item appears on your credit report following our
      investigation.
      Date Opened:     1A15nO18                 Balanc€:             $818          Pay Status: >Charged Off<
      Rssponsibllity: lndivldual Account        Date Updated:        12115120?3    Terms:          Paid Monthly
                                                                                                                         *\t
      Account Typo:    Rermlving Accnunt        Last Paymenl Made: O2J11l20n       Date Glosed: 0il142f,22               t{t
      Loan Type:       CREDIT CARD              High Balance:                      >Maximum Dellnquenry d 120 days in    'h
                                                                                                   O7ln22 and in 09fl22< #
                                                                     $820
                                                Origlnal Charge-off: $820
                                                Crsdit Umlt:         $5m                                                 i+
                                                Past Due:            >$818<                                              rh
      Rem arks: CLOSED BY C REDIT G RANTO R; >U NPAID BALANCE CHARGED OFF<
      Estlmated                         wllt be removed: O3f2t29

     Ratlng


     Rating


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                                                                                                                101201

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      BEST BUY/CBNA #42693720M26r*r' ( 5s00 sorih Corporate Place, SIoUX FALLS, SD 57108, (888) 57+1301 )
      We investigated this item, verified it belongs to you, and updated: Date Updated; Historical Trended Data.
      Here is how this item appears on your credit report following our investigation.
      Dato Oponed:      O?J16n021               Balanca:             $1,501          Pay Status: >Charged Off<
      Rosponslblllty: lndividual Accounl        Date Updaled:        1Ul1l8ti        Tsrms:          Pald Morrthly
      Account Type:     Rerolving Account       t-asl Payment Made: O1l07l20n        Date Glosed: 0610il?f22
      Loan Typo:        CREDTT CARD             Hlgh Balanca:        $1,501          >Maximum Dellnquenry d 120 days in
                                                Orlglnal Charge-off: $1,501                          Odn22 ard In 0&2022<
                                                Credlt Llmlt:        $1,0m
                                                Past Duo:            >$1,501<
      Remarks: CLOSED BY CREDIT GRANTOR >UNPAID BALANCE CHARGED OFF<


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Date lssued:         12t23t2023



 .INVESTIGAIION RESULTS - VERIFIED AS ACCURATE AND UPDATED: The disputdd item(s) was
  verified as acburate; however, other information has also ihanged.

 DISCOVER BANK #601101000328'"** ( po Box s0e3e, SALT LAKE crry, ur 84130, (800)347-26s3 )
 We investigated the information you disputed and the disputed information was VERIFIED AS ACCURATE;
 however, we updated: Date Updated; Rating; Historical Trended Data. Here is how this account appears
 on your credit repod following our investigation.
 Date Opened:      11lOSnO21             Balanc€:             $268          Pay Status: >Charged Off<
 Responslbllity: tndividual Account      Dais Updated:        12f2C/2023    Torms:          Pald Monthly
 Account Type:     Revolving Accounl     Last Payment Made: 02l0ilnn        Date Closed: 04nNn22
 Loan Type:        SECURED CREDIT CARD High Balanco:          $484          >Maximum Dellnquencycf 120 days ln
                                         Original Charge.off: $268                         0g2f22and ln07ln2s
                                         Credit Umlt:         $3m
                                         Past Duo:            >$268<
 Remarks: DISP INVG COMP-RPT BY GRNTR: >UNPAID BATANCE CHARGED OFF<
                             s    will bs removed : 1212O28

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 VERIZON WIRELESS #5894314090**** (po Box6s0051, DALLAS, TX7s26s, (800) Bs2-1e22 )                                       6
 We investigated the information you disputed and the disputed information was VERIFIED AS AGCURATE;                     o
 however, we updated: Date Updated; Original Charge-Off; Rating. Here is how this account appears on                     o
                                                                                                                         o
                                                                                                                         o
 your credit report following our investigation.
 Dato Oponed:      11rc5n020               Balanc€:         $1 50           Pay Status:  >ln Collection<
 Rosponslbllity: lndlvidual Account        Date Updared:    142?J20n        Date Closed: 11nun21
 Account Type:     Open Account            Payment Rmelved: ($o)
 Loan Typo:                                Hlgh Balanco:    $1 50
                    TELECOMMUNICATIONS/CELOri ginal Charge-off:        $0
                    LULAR                 Past Due:                    >$150<

 Remarks: ACCT INFO DISPUTED BY CONSUMR; >PLACED FOR COLLECTION<
                               item will ba

Rating                    x                            x           x            x   x   x     x           x          X



Ratlng          x                   x                                                                     x

RaUng           x                   x        x                                  x   X   x     X




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       Flle Number:            423065055                       Page 8 of   I
       Dato lssuod:            1212312023




         INFORMATION UPDAI F.D: tn response to your request, a change was.made to this.item(s).

        TELEPHoNE NUMBERS REPORTED: (475) 899-0294
        ADDRESS INFORMATION: This section of your report was updated as follows:
        Address                        Date Reported
        26 BROAD ST APT 4, NORWALK, CT 06851.6185 1O/1g2O1B
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File Number:        423065055                   Page I of 9
Date lssued:        12t23t2023

ln the preceding pages we have provided details on the results of our investigation. lf our investigation ha
not resolved your dispute, here's what you can do next:
    . Add a 1QQ-word statement to your report. What this means is that you have the right to send us a no
       of 100 words or less describing your situation or why you disagree with the results, and we will add th
       statement to your report. Anyone who views your report will see this statement. Please know that if yc
       include any medical information in your statement, this means you're giving TransUnion permission
         include that information in any future credit report we issue on your behalf.
    .    Dispute directly with the company that reported the information to us. lf you want changes made
         information found on your credit report you may dispute with the company that reported it using tl
         contact information listed in Your lnvestigation Results.                                             iti
    .    Provide to us any other information or documents about your dispute. Please visit                     S
         rivww.transunion.com/dispute and let us know you are filing a repeat dispute. Be sure to include any ofl
         information or documentiiion you feel will help us resolve your dispute.                              l+
    .    File a complaint about the company reporting the account or about TransUnion with the Consufr'n
         Financial Protection Bureau (www.consumerfinance.gov/complaiht) or with your State's Attornr
         General's office.
                                                                                                                   E

lf there has been a change to your credit report as a result of our investigation, or if you have added a statem€
to your report, you ."y         iransUnion to send an updated credit report to those who have received yG
report within the last 2   "sk
                         years for employment purposes or within the last 6 months (or 1 year, where applicab$
for any other purpose.
                                                                                                                   g

A Note on lnquiries                                                                                            E
An inquiry is posted on your credit report to notify you that a company has requested your report. Companft
can only request a credit report for a legitimate business reason (called permissible purpose). ExamplesE
permissible purpose include: credit transactions, employment consideration, review or collection of an existir
account or other legitimate business need, insurance undenrvriting, government licensing, rental application       ,




court order. lnquiries stay on your credit report for up to two (2) years. Each company that requested your cre(
report will be listed in the section on inquires, along with their contact information. Please note, a compar
doesn't always need your authorization to view your credit report as long as they have a permissible purpose.
you think an inquiry was made without a permissible purpose, we strongly encourage you to reach out to ti
company who requested your credit report to find out whether they have opened an account in your name. Tl
company can then investigate and if they determine that someone fraudulently applied for credit in your nam
they can close that account and send us a letter requesting removal of the inquiry. [f you have specil
information that the inquiry was made fraudulently, you can also call our Fraud Victim Assistance department
800-680-7289.

                                 Should You Wish to Contact TransUnion
Please have your TransUnion FILE NUMBER available. Your unique FILE NUMBER is located at the top of eat
page of this correspondence.
Online:
To dispute information contained in your credit report, please visit: www.transunion.com/disputeonline
For more information please visit our Frequently Asked Questions page at
http ://tra nsu nion. com/consu merfaqs

By Mail:
TransUnion
P. O. Box 2000
Chester, PA 19016-2000
By Phone:
(800) e16-8800
You may contact us between the hours of B:00 AM - 11:00 PM Eastern Time, Monday through Friday, and
Saturday through Sunday between the hours of B:00 AM and 5:00PM Eastern Time, except major holidays.

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Date lssued:
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 Names Reported: LEN5ENDRo |AGUERRE and LENSENDR LAGUERRE                                                                                                                                      s" r'\- o/ ol - 16 _ zt,it1

Addresses Reported:                                                                                                                                                                          U )'f cvel *c;01:f5
Address                                                                                               Date Reported       Address                                                                          Date Reported
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 Rem-ark Key
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 Addltlonally, some crediton may notate your account with comments each month. We Efer to thes6 credltor comments as 'Remaks'. .Ths key below gives the
 destiriptlons of the abbrevlatdd remarks contalned in yourcreiJit file. Any rdmark containing brackdts t( indicate3 that tris rema* ls ionsldered adve'rse.
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 AMERICAN EXPRESS #349992922041**** ( Po Box 981537, EL PAso, TX 79998, (80o) 874'2777 )
 Dateopened: 7oltol2o27                                                                     Dateupdated:
                                                                                                '        o7lo2l2o24                                                     PayStatus:                  otr<
 Responslblllty: lnJlvidual nccount                                                                                                                                     Tetms: {harsed
                                                                                                                                                                               Paid Monthly
 lccountTypei RevoMngAccount                                                                                                                                            DateClosed: 0611612023
 toanType:' CREDTTCARD                                                                                                                                                  {Vlaximum Delinquenryof 129 days ln71'12023
                                                                                                                                                                        tur$931 and ln72l2o23 for$1,089<
 Hlgh Batance: Hlgh batance of $1,112 from 05/2023 t o o612o23:, $3,693 from oZ I2023 to 07 l2o23i $3,e29 from 08l2o23 to 70l2023i $3,85e from 7tl2o23 to
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                                                           To dispute online go to: hft pl/6.gnsu_nion,.com /disouteonll ne
                                                                                                                             Pagc: 2 of7
Consumor Credit Report for LENSENDRO LAGUERRE                                                                                                                          File Numben 423065055 Date lssued: 07 I 081 2O?-4


  BAN K OF AMERICA #552433284103*'t** ( 201 N TRyoN STREFT-, Nc1-022-08-15, CHARLonE, Nc 282s5, (B0o) 421-2110 )
  DateOpened: 10/15/2018                                                                          DateUpdated: AXXXXXXXX                                                       PayStatus: rCharyedOff<
  Responsiblllty: lndividual Account                                                              LastPaymentMadez 0217712o22                                                   Terms:       Paid Monthly
  Account Type:   Revolving Account                                                               Origlnat Charge-off: $820                                                     Date Closed: OSlO1l2022
  LoanType: CREDITCARD                                                                                                                                                          )Maximum Delinquencyof 721daysln07l2022
                                                                                                                                                                                and inO9l2022<
  High Balance: Hl gh b alance of $8 2 0 from 72 | 2023 b 06 I 2024
  Credit Limit: Credit limit of $500 from 1212023 lo 0612024

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  BAN K OF AMERICA #6 501005 814**** ( 201 N rRyoN sTREEr, Nc1.022-08-1s, CHARLoTTE, Nc 28255, (8oo) 669-6607)
  Date Openedr l7lOSl2O21r                                                                        Ealance:           $O                                                         Pay Status: )Account paid in full: was a                    o
  Responsibllityr: Jolnt Account                                                                  Date Updated: l1l3ol2123                                                                    Charge.off<                     o
  Account Type: lnstallment Account                                                               Payment Received: $O                                                          Terms:        $0 per month, pald Monthly for 6E
                                                                                                                                                                                                                              o
  Loan Type:    AUTOMOBILE                                                                        Last Payment Madet l7l31l2}23                                                               months
                                                                                                  High Balance: $9,328                                                          Date Closed: l7l30l2123
                                                                                                  Originat Charge-offr $8,068                                                   )Maximum Delinquency ot 120 days in 07l2O23
                                                                                                                                                                                and in7Ol2O23(
  Remarks: )PAID lN FULL/WAS A CHARGE Off(
                th and                wllt

 Rating                                                                                                                                                                                                                                OK


 Ratlng

  BEST BUY/CBNA#425937203426**** ( seoo south corponte place, sror.JX FAL6, sD 57108, (888) 574-7307)
  Date   Openedr 0211612021                                                                       Date     Updated: 07 lj2l 2024                                                Pay Status: >Charged Off<
  Responsibllity: lndlvidual Account                                                              Last PaymentMadet    Oll07l2122                                               Terms:       Paid Monftly
  AccountType:                               Account
                                     Revolving                                                    orlglnal Charge-off: $t,50t                                                   Date Closed: 0610212022
  Loan Type:                         CREDIT CARD                                                                                                                                )Maximum D elinquency of 120 days ln O5l2O27-
                                                                                                                                                                                and in 08/2022(
  High Balance: High balance of$1,501 ftom l2l2Q23 to 07 12024
  Credit Llmit: Credit limit of $1,000 from 12/2023 lo 0712024

                      0                      o6                                        {t4                  oall(l?h           n? t20aL         07 t?o?.tl       72/2.)24
 BA    ce                                               501            I r,501                                    5 1.50 1         51.5()',1        51.5U1            51.501
 Sched u led                                             $o                     5C                    $(                $(                 $(              $t             $0

            rld                                                                                                       s(                   $(           $r                 $c
 Past Due                                                          'r. 81.501                                     $1;50l      ,,i':"1 $1,501        $il501            s1.501
 Rem                                                    fD                 6/PRI                              ,CBG/PRt                          .. caG'lPRt          gBG/ PR
 Ratlng                         @                   l-clEl
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                                                                                                                                                                                11t2rl22                      09l:'
 Ratlng                                                                lir7dl                 f-,c/q,l            I',c/o'l          I'c/o;l         l:c/o l            Elq         lqrql            Er.dl            rctrrl
                                             of                                        a4                                                       01 t2fi42       't) t?o21       11t2rl27     7rlt                      o27      0a
 Rating                         t@t                                        E                                      l-Fol             loKI            l oR-l             lorcl                         OK                OK              OK

                                        Or                             o                     '2(J21

 Rating                   OK                 OK                            OK            OK




                                                             To dispute online go to: r,ttJrQCInsunio n.com/disouteonli ne
                                                                                                        hge: 3 oF7
Consumer Credit Report for LENSENDRO LAGUERRE                                                                                             File Numben 423065055 Date lssued: 07 l0Bl2o24


     DISCOVER BANK #601101000328***'b (Po Box 30939, sALrIAKEclrY, ur84130, (800)347'2683)
     Date   opened:         r7lo5l2o2l                                          Date   updated:     0{12312024                                     Pay Status: >Charged Off<
     Responslbllity lndivldualAccount                                           LastPayment Made; o2lo4l2022                                       Terms:       Paid Monthty
     AccountType: RevotvingAccount                                              OriglnalCharge'off: $268                                           Date Closed: 04 120 I 2022
     LoanType:              SECURED CREDITCARD                                                                                                     )Maximum Delinquency of 120 days in05l2022
                                                                                                                                                   and inO7l2O22<
     High Balance: High batance of $484 frcrfi t2l2o2} lo 0612024
     Credlt Llmit: Credit limit of $300 from 7212023 to0612024
                                                                 rem       12
                    D6l2OZtt              o512024                       oitaozL                           07 t2024      1212023        7712023     7nt20)a      09t?o?,1                D7 t202'

                           $26                 s268               268           $26t            $26[             $26t       $26
                                                  $c              $c              $(                 $c            $(            $c

                                                  $c              $c              $(                 $c          s(             $c
             e          ,':i: $269   :'       :'.$268                           $26f        '':r $26f ':      .$26[ .i! : '":i$268
 Remarks                :AID/PRI i.         AID/RRI .,i:r" AID          -.,,AID/PRI    ,    ..AID/PRI
                                                                                                      ""'-r AID/PRl *-" AID/ml
 Ratlng                   @                  l=€16l         @               lci/Ell           l-c/6.1         @             rcFl          rcrel       fct-6]       fc;r]        @              {r

                    o6t7.o2a                                   il       0912023            0212023        01 t?o?a      7?,t2fl22      77t2022                               oal2a22    07 l20it,
 Rating                   Icl,o'l            le/o I         [Grd]           rcrcr             lT/o-'1         [-cre,1       liC.'/ol      lctoil      lc/qil       lE./6-|      Itr6t
                    0612022               oql207?                       oat7022            02tzo22        0712022
 Rating                   lrtd;l             lezol          I:'9:o'l        FEMi                30               OK

                                                                                                                                                                                                c
     SOUTHWEST CREDIT SYSTEMS #10821*"** ( 4120 TNTERNATIONAL pKwl" STE 1100, CARR0LLTON, TX 7r0o7,(844) 55r-792e)                                                                              c
                                                                                                                                                                                                c
     Placedforcotlectlon2AslTl/2}z4            Balance:           $85                                                                              Paystatus! )lncollection(                    c
                                                                                                                                                                                                3
     Responsibllity lndividual Account         Date Updated: 0710312024                                                                                                                         I
                                                                                                                                                                                                v
     AccountTyper Open Account                 Last Payment Madez Otl23l202O                                                                                                                    Y
                                                                                                                                                                                                I
     Loan Type:     COLLECTION AGENCY/ATTORNEY OriginalAmount $85                                                                                                                               c
                                                                                                                                                                                                c
                                               Original Credlton T MOBILE (Cabte/Cellular)                                                                                                      c
                                                                                                                                                                                                o
                                                                                                                                                                                                o
                                               Past Duer          )$85(                                                                                                                         I
                                                                                                                                                                                                o
     Remarks: )PIACED FOR C0LLECTION(                                                                                                                                                           o

     Estlmated month andyearthatthis ltemwlll be removed: 0U2027
 t
      Satisfactory          O,UntS       ,, ..'1,
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                             .i_ - -:-*-..,. --i                  ,t.                           I


     BANK OFAMERICA #440066044653*             *** (20r N rRyoN 5TREEr, NC1-022-08-15, CHARLOnE, NC 282ss, (800) 421-2110)
     DateOpened: ttl16l2}t1                                DateUpdated: O6J3O12024                             PayStatus: CunengPaldorPayingasAgrecc
     Responslbllity: Authorized      Account                                     Last Payment        Made:O6126/2O24                                Terms:       Paid Monthly
     AccountType: RevolvlngAccount                                                                                                                  DatePaid; 0612612024
     Loan   Type: CREDIT CARD
     High Balance: High balance of $1,057 from 01/2023 b ot12023;97,067 frcm0312023 to Q9l2o23; $r,teo ftom 1ol2023rootl2o24; $t,1so trom 03l2o24to
     06/2024
            LI
                    0

 Scheduled                                                                                                        $

 Amount
        Due
 Ratlng                                                                       OK                OK               OK           OK           OK           OK
                                                                                                                                                                                   2




 Past Due
 Ratlng                    OK                  OK                OK                                                                                         K        OK          OK


 Ratlng                                        OK                OK           OK                OK               OK           OK           OK           o                                     OK


 Rating                                                                                OK


     CAPITAL ONE #40034 4889697"*** ( P o Box J7293,saltlake city, ur 84131, (8oo) 955-7070 )
     oateopened: 0317512027                                                      Balancer                   $o                                      Pay Status: Pald, Closed; was Paid as agreec
     Responslhlllty lndivldual Account                                           Date LJpdated: L210712021                                          Terms:       Pald Monthly
     Account TlDe! Revolvlng   Account                                           last Payment Madezl2lQll2}2l                                       Date Closed: 72107 12027
     Loan   Type:  CREDIT     CARD                                               Hlgh  Balance:   $1,111                                            DatePald: 7210I12021
                                                                                 Credlt Limit:    $1,000
     Remarksr CLOSED BY CREDIT GRANTOR; CLOSED



                                                    To dispute online go to, t ttJlQZns union.com/disouteonli ne
                                                                                                  Page: 4 o[7

Consumer Credit Reportfor LENSENDRO LAGUERRE                                                                                   Fite Numben 423065055 Datelssued: 0710812024

                                    7012027                                 OB        07 |2{J27     0612027     o5          OItl2027
 Ratlng                    or(                                    OK             OK                     loxl         OK




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                                                                                                                                                                     lndividual
   AMERISAVE MORTGAGE C via EQUIFAX MORTGAGE SERVICE (8r5 EAST GATE DR, SutrE r02. MOUNT LAUREI- Nl 08054, lnquiryrvper
   (8oo) 685-5ooo)
   Perm issibte Pu rp ose: CREDIT TRAN SACflON
   Requested anz t7 I 741 2022


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   LENSENDRO LAGUERRE ViA K?RMATRANSUNION INTERACT ( 1OO CRO5S STREET. sAN LUIS OBISPO, CA 93401, (841I) 580.6816)
   Permlsslbte Purpose: CONSUMER REQUEST
   Requested on 07 | oB | 2O24, 061 24 | 2024                                                                                                                                     il
   DlscovER FINANCIAL SERVICES LLC (2500 LAKE COoK RoAD, RTVERWOODS, tL 60015, (80o) 347-2683 )                                                                                   ilt:!
   Requested on o7l07l2o24,06lMl2024,06l07l2024,o5lo8l2024,O4l06l2024,02l21l2024,02l07l2024,o1l06l2024,r2l06/2023,7210312023,\71081202
   17lo5l2023,7ol06l2023,70lo2J2023, 09lo7l2o2J, 09l05/2023, oel0612023, oglMl2023

   6t7 434789 vla CREDITWISE CAPITAL1 TU-B ( cAprrAL oNE N-A., po Box 8s820. RlcHMoND, v{2328s, (877) 383-4802)
   Permlsslbte Purpose: CREDIT MONITORI NG
   Re qu ested Anz O7 | O61 2024. O6t A6 I 2024                                                                                                                                     o

   807808680 via TRANSUNION INTERACTIVE ( 100 CROSS STREET 202, SAN LU|S 0BrSPO, CA e3401, (844) 580-6816)                                                                          o
                                                                                                                                                                                    B
   Permisslble Purpose: CREDIT MONITORI NG                                                                                                                                          I
   Requested On: 07 l0612024, 07 I 05l2O2h                                                                                                                                          V
                                                                                                                                                                                    c
                                                                                                                                                                                    L
   TRANSUNION CONSUMERINTE (760r\4ARKErsrREErloTH Roo& sAN FRANctsco, cA94702, (844) 58s6815)                                                                                       d
                                                                                                                                                                                    o
                                                                                                                                                                                    o
   Permissible Purpose: CREDIT MONITORI NG
   Requested oft0710512024,071O212O24,0710112024,0612612024,0617612024,0617712024,061rO12O24,0610712024,0610112024,0512512024,0517612024,                                           o
                                                                                                                                                                                    o
   o5losl2024, 05l05l2024, oslo2l2024, o5lol 12024,0412612024, 04l761 2024, 04losl2024, o4l05l2024,04101.1 2024, 04lotl2o24, o3l 2612024,031201 2024,                               o
                                                                                                                                                                                    o
   oJl76l2O24,o3l7Jl2o24, 0310612024, 03l05l2024. o3lo3 12024, 03lo7l 2024, o2129 12024, 02126l2024,02lzLl 2024,o217612024, o2l 0512024,021051 2024,                                o
                                                                                                                                                                                    o
   o2l$l2o2h,o2l07l2024, 02l1tl2024, 07l25l2o24.o1l05l2024, 0110512024,0r10412024, orlotl2024, oTlou 2024,1213112023,7213012023.7212512023,
   12l16l2023, r2losl2023, r21o312023,721o712023,7711712023,7710712023, t7losl2023,771o212023,77lou 2023,7o127120?3, tolt6l2o23,70lo5l2023,
   7ol05l2023,7ol04l2023, tOlo2l 2023,7olotl2o23,o9l2sl2o23, 09ltgl 2023, 09l07 12023, o9losl2o23,09|ou2023,091o7/2023, o8l 2512023,08177 12023,
   0810512023,o810512023,081o412a23,08l01l2o23" o8l01l2023, 0712612023, 0711712023

   CREDITWISE CAPITAIl TU-C (cAplrALoNE NA., po Box858z0, RrcHMoND,vA 23285,@77) 383-4s02)
   Permisslble Purpose: CREDIT MONITORI NG
   Requested on. 07 lo5l2024,07l 0212024, 07 10t12024,0611712024,061 o412o24,06lot 12024, osl7612024,o9l 061202!, oslo2l2024,04/L6l 2024,0410512024

   LENSENDRO tAGU ERRE via CREDITWISE CAPITALI TU-A ( cAprrAL oNE N.A., po Box 85870, RrcHMoND, vA zi2ss, (877) 383-4802 )
   Permlsslble Purpose: CONSUMER REQUEST
   Requested on? 0612u2024,O512512024,c/412612024, 03l3ol2024,03lOLl2O24, 02loi 12024,0t10512024, 1210912023,7711012023, LoJ74l2023,09l15l2023,
   0817912023, 07l21l2on,0612412023,0512612023, 0412912023, 031371202J, 03lMl2023, 0210312023,011o712023,7210912022,7u    0912022,101o512022,
   09 I 03 I 2022, 08 I 03 | 2022

   BANK OFAMERICA (po Box 9922is, EL pAso, rx79998, (800) 421-2110)
   Requested on;0612012o24,0512112024,051O112024,0412012024,O312012024,0317912024,02J21/2024,O2119/2024,01/L912024,0710612024,071o212o24,
   12119 12023,1210912023, t1 12112023,771o8J2023,1o17912023,701061 2027,09 17912023, o9107 12023;081791 2023,081o7 12023,o81 0412023,07 17912023

   DlSCOVER CARD (2soo LAKE cooKRoAD, RrvERwooDs, rL 60015, (800) 347-2d83)
   Requested onz oGlt6l2024,05/t612o24,c(.|1612024, Oi11612024,o211612024,0717612024,                                121761202],I711612023,1.017612023,0917612023,   o8l15l2o23,
   07 17612023

   TRANSUNION CONSUMER INTE (1oo cRoss srREEr, sAN LUrs oBrsp. cA 93401, (8os) TB2-8282)
   Requestedonr 06l01l2024,O5l02l2024,03l20l2024,O2l2rl2024,07l05l2O24,07l04l2o24,orl07l2024,t2l30l2023,12l03l2023,70lO4l20?3,0810612023

   FACTACT FREE D!SCLOSU RE ( p o Box 1000, CHESTER, pA 19016, (800) 888-4213 )
   Requested On20311712O24,O211812024,1210512023,771O512O2i,0517912023,0312112023,7712712022

   LENSENDRO I-AGUERRE vla TRANSUN ION INTERACTIVE lN ( 1oo cRoss sr, srE 202, sAN LUrs oBrspo, cA e3401, (8s5) 681-3196)
   Permisslble Purpose: C0N5UMER REQU EST
   Requested On: 03 I 77 | 2024

   TU INTERACTIVE (roo cRoss sr, 202, sAN rurs oBrspo, cA 93401, (844) s80.6816 )
   Re qu es ted On 03 J 77 / 20 24, O2l 78 | 202 4, 12 I O 5 | 2023, 7r I 0 5 | 2O2i


   I EFFERSO N CAP ITAL ( 200 1 4TH AVE E, sAKrE Lr- MN s637 7, (e66) 2t9-o7zs )
   Permi sslble Purpose: C0LLECTIO N
   Requested On: 03 | 05 | 2024




                                               To dispute online go to: htt                       JAfi'' sunion,com/disputeonli ne
                                                                               hge: 5 of Z
Consumer Credit Report for LENSENDRO LAGUERRE                                                                  File Numbec 423065055 Date lssued: 07 lo1l2024


   CONSUMERINFO.COM                   ( 475 ANroN BLVD, cosrA MESA, cA 92625, (B8B) 397-3742)
   Requested onto1lQ6l2Q24,ttl05l2O21.:ttlO5l2O23.7012612023,O3l03l2023,02l22l2o2?,0210712023,o210512023,o21O412023,0712412023,0112112023,
   o 7 | 20 I 2023, 07 | 20 I 2023, 0r | 70 I 2023, 7 | | 08 I 2022. 10 I 79 | 2022


   793935078 via TRANSUNION INTERACTIVE ( roo cRoss sTRErr 202, sAN LUrs 0Brspo, cA 9340r, (Boo) t 93-239r;
   Permlssible Purpose: CREDIT MONITORI NG
   Requested onrt7l07l2o23,lU04l2023,70losl2023,IOloJl2023,7oloIl2023,09l06l2023,09lo4l2023,o8l05l2023,o9l03l2023,07l03l2023'0610212023,
   05l07 l2O23,o5l07l2o23, o4losl2023, Ou27 l2023,7olt5 l2022,091Isl 2022, 09 107 12022,0910612022, o81751 2022,0810412022, o81 0412022

   LENSENDRO I.AGUERRE ViA TRANSUNION INTERACTME ( 1OO CROSS STREET 202, SAN LUIS OBISPO, CA 93401, (BOO) 493.2392)
   Permisslble Purpose: CONSUMER REQU EST
   Requesredon: rolo4l2}2i,Ogl04l2023,aBl04l2023,07lo2l2023,o5l18l2023,06l02l2023,oslo2l2o23.o3l28l2023,o2l28l2o27,07l29l2023,L212212022,
   7 r | 12 | 2022, 1 o | 08 I 2022, 09 I OU 2022, 08 | 07 | 2027


   TRANSUNION INTERACTIVE ( too cRoss srREET, sAN LUts oBtspo, cA934oi, (Brr4) s8G6816)
   Reguested On: 70 I O 412021, 081 M | 2023
                                                                                                                                                                       r+
                                                                                                                                                                       i:tl

   TRANSUNION CONSUMER INTE (T60MARKEIsTREErlorH FLooR, sAN FRANcrsco, cA94102, (844) 58G6816)                                                                         *
   Requested ont 09 | O5l2O23                                                                                                                                          rt*
                                                                                                                                                                       -l


   ENHANCED RECOVERY COMPAN ( 8014 BAYBERRY ROAD, JACKSoNVILLE, FL 32256, (8OO) 942^0075)
   Requ ested Anz 08 | t2l 2023, 03 I 77 | 2023


   AMER I CAN EXP RESS ( po Box e9t sit, EL pAso, rx zeeg8, (Bo0) 87 4-27 77 )                                                                                              o
                                                                                                                                                                            o
   Requested On: 08 I O9l2O23
                                                                                                                                                                            o
                                                                                                                                                                            3
   ALLY FINANCIAL INC (po Box 380901, BL00MrNGroN, MN ss438, (877) 247-2559)                                                                                                I
                                                                                                                                                                            Y
                                                                                                                                                                            d
   Permiss lble Purpose: CO NSUMER I NITIATED IMNSACTI 0N
                                                                                                                                                                            L
   Requested On: 05 l24l 2023                                                                                                                                               L
                                                                                                                                                                            d
   T-MOBILE (12920 sE 3sTH sr, BELLEVUE, wA 98006, (B0o) 318-9270 )                                                                                                         fo
   Requested Onl. 05 I 05l 2O2J

   CAPITAL ONE ( 1s020 cAprrAL oNE DR, RrcHMoND, vA 23238, (800) 95s-7070)                                                                                                  o
   Requosted on: 02/08/2023

   TUCI - DC TARGETED (1oo cRoss srRErr, surrE 101, sAN LUrs oBrspo, cA9iA0t, (844) 580-681d)
   Requested on: 01 /20/2023

   TRANSUNION INTERACTIVE ( 10o cRoss srREET2o2, sAN LUrs oBrspo, cA 93401. (Boo) 493-2392)
   Requested On: 71 l741 2022

   AMERISAVE MORTGAGE CORP (rzoo ALTMoREAVENUE, BUTLDTNG 2 surTE 300, sANDy spRrNGS, GA 30342, (866) 970-7283)
   Permisslble Purpose: CR EDtT TRAN SACIION
   Requested On: 77 | 741 2022

   SOURCE RECEIVABLES MNGMNT ( 4or5 ouruons DR, surrE 102, GREENSB0Ro, Nc 22402, (j3O 280-3111)
   Requested On, 77 | 70|2022

   MIDI.AND CREDIT MANAGEMENT ( 320 EAST BIG EEAVER, SUITE 3oo, TRoY, MI 48083, @7N 822.0381)
   Permisslble Purpose: COLLECTION
   Requested On t,|t9|2022

   NORTHSTAR LOCATION SERVIC ( 4285 GENESEE srREEr, cHEEKIoWAGA, Ny t42zr, @7n 6a0-67oo)
   Requesred on: 10/05/2022, 09 I 07 | 2022

   632770977 vla TRANSUNION INTERACTIVE lN (1oo cRoss sr, sTE 202. sAN LUrs 0Brspo, cA 932101, (8s5) 681-3196)
   Permlsslble Purposer CREDIT MONITORI NG
   Requested On: 07 17512022




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    SECURITY FREEZE: Thls file has been frozen or locked at the consume/s requesl
    (Note: Thls statement has no explration date.)
    SECURIIYALER1ExtendedFraudAlert:ActionmayberequiredunderFCRAbeforeopenlngormodifyinganaccount-                      Contactconsumerat(475)889-0294.
    (Note: This alert ls set tD expire in Oil2O30.,
    PROMOTIOHALOPT.OUT: Thls file has been opted out of promotional lists supplied by TmnsUnion.
    (Note: This opt o ut is set to expire ln O2l2O28)
    The opt out on your fite will remaln in effect untll the explration date specified above, unless you request it to be made permanent To permanently opt out of
    prornotional Iists provided by TransUnlon, you must send us a signed 'Notice of Election'form. which can be obtained by writing us or calling us at 800-916-8800
    and speaking with a representative.




                                          To dispute o nline go to: htt JlQPnsu nion.com /d isouteon ti n e
                                                                                                    Pago; 6 ofZ
Consumer Credit Report for LENSENDRO         LAGUERRE                                                             File Numbec 423065055 Date lssued: 07 IOB/2024
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 il, Additional       lnformatio-n ]., :.
      . .dr. .. ... .  :":...                                                                   r



     The fottowing disctosure-.of lnformation mlght pertain to you. Thls addltional,lnformation may Include Special Mess.ages, Offlce of Forelgn Assers Control ("OFAC")
     Potential Name Matched; lnquiry Analysisl Mllitary Lending Act ("MLA") Covered.Bonower lnformation, third Partty Supplemental lnformation and/or Consrtmer
     Contributed Flnancial tlformaiion. nuthorlzed parties may alio receive the additlonat information below from TransUnion.


 , ihi;dParti SuF-piementlt rnformiiion "=-'
     ln addi[lon to the lnformation maintained irithe above credit.repoG TransUnlon wi[[ occasionallytcontact a third'pafy forsupplemental information in connection
     with a'p'articular transactlon in.responie h drequest from a.partlcular customer. Listed below.ls the supplementil aita thattransUnion obtained ftom such third
     parties', as well as the nam e(s) of the TransUnion customer for whom it wa s              obtained.                                                 :



      9HECK|NG ACCOUNT AND DEMAND DEPOS'TACCOUNT(DDA) ACT|W
      Data Source: Chex Systems lnc. (7805 Hudson Road, Suite 100, Woodbury, MN 55125, (800) 513-7125)                                                               '4
      Requested by: TMNSUNI0N CONSUMER INTE                                                                                                                          tr
      Requested on: 6105 | 2024                                                                                                                                      iil
      Number of Accounts Consumer is ldentified On:0
      Bank Account Closures ldentified as Fraudulent: 0
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      Paid Checks in the Last 3 Years: 0
      Open (Unpaid) Checks in the Last 3 Years:0
      Checks Ordered in the Last Month: 0
      Checks Ordered in the Last 2 Months:0                                                                                                                              c
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      ChecK Ordered in the Last 3 Months: 0                                                                                                                              c
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      Checks Ordered in the Last 6 Months: 0                                                                                                                             c
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      Check Orders in the Last Year: 0                                                                                                                                   I
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      Check Orders in the Last 2 Years: 0                                                                                                                                v
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      Check Orders in the Last 3 Years: 0                                                                                                                                A

      Quantity of Checks Ordered in the Last 3 Years: 0                                                                                                                  cc
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      Average Checks Ordered in the Last 3 Years: .00000                                                                                                                  cc
      Smallest Number of Checks Ordered: 0                                                                                                                               c
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      Largest Number of Checks Ordered: o
      Checking Account Closures in the Last Month: 0
      Checking Account Closures in the Last 2 Months: 0
      Checking Account Closures in the Last 3 Months: 0
      Checklng Account Closures in the Last Year: 0
      Checking Account Closures in the Last 2 Years: 0
      Checking Account Closures in the Last 3 Years: 0
      DDA Closures in Last L80 Days: 0
      DDA Closure in Last 5 Years: 0
      Paid DDA Closures in Last 5 Years: 0
      Unpaid DDA Closures in Last 2 Years:0
      Unpaid DDA Closures in Last 5 Years:0
      Unpaid DDA Closures in Last 4 Vears: $000000000.00
      Checking Account lnquiries in the Last Month: 0
      Checklng Account lnquiries in the Last 2 Months: 0
      Checking Account lnquiries in the Last 3 Months: 0
      Checking Account lnquiries in the Last 6 Months: 0
      Checking Account lnquiries in the Last Year: 0
      Checking Account lnquiries in the Last 2 Years: 1
      DDA lnquiries in the Last 3 Years: 7
      TotaI Days Since First CheckingAccount lnquiry:947
      Days Since Most Recent DDA lnquiry: 325
      Credit lnquiries in the Last Year: 0
      Credit lnguiries in the Last 3 Years: 0
      Auto lnquiries in the Last 3 Years: 0
      Credit lssuance lnquiries in the Last Yean 0
      Credit lssuance lnqulries in the Last 3 Yearsr 0
      Payday lnquiries in the Last 3 Years: 0
      Utility lnquiries in the Last 3 Years; O
      Other Credit lnquiries in the Last 2 years: 0
      Other Credit Inquiries in the Last 3 Yean: 0
      DDA & Credit/Non-ODA lnquiries in Last 3 Years: 7
      Open (Unpaid) NSFs ln the Last Month: 0
      Open (Unpaid) NSFs in the Last 2 Months: 0
      Open (Unpaid) NSFs in the Last 3 Months: 0
      Open (Unpaid) NSFs in the Last 6 Months: 0
      Open (Unpaid) NSFs in the LastYear: 0
      Open (Unpaid) NSFs in the Last 2 Years:0

                                             To dispute online go to: httJrZflnsunion.com rdisputeonline
           Personal Credit Report for:                                                         fi    .i   \.        c"'X
           LENSENDRO LAGUERRE
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           Fi[e Number:
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           Date Created:
           oI/06/2025




 Visit transunion.com/disglg to start a dispute ontine.

 If you are experiencing a financial hardship related to a public health emergency or your personal. circumstances, you can add a consumer statement to your
 credit fite to exptain your situation by visiting us at www.transunion-com,/credit-hetp_ @.

 8 Personal Information
 You have been on our fites since 10/15 /2OI8. Your SSN has been masked for your protection.

   Credit Report Date
   oL/06/2025
   Social Security Number

   xxx-xx-s9 ooq ?;'') 1 +
   Date of Birth

   09/09/2000
    Name

    LENSENDRO LAGUERRE




https://annualcred itreport.transu nion.com/dss/disclosure- page                                                                                               1t55
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    LENSENDR LAGUERRE&                  -'7,        ') :2

 Addresses

    Current Address
    26 BROAD ST APT 4 NORWALK, CT 06851-6185

    Date Reported

    IO/I5/2OIB


 Phone Numbers

    Phone Number

    (47s) 8e9-O294

    Phone Number

    (203) BlB-2er6



 ft Accounts
 TypicatLy, creditors report any changes made to your account information monthty. This means that some accounts Listed below may not reftect the most
 recent activity until the creditor's next reporting. This information may inctude things such as balances, payments, dates, remarks, ratings, etc. The rating key is
 provided to help you understand some of the account information that coutd be reported. Pay Status represents the current status of accounts and indicates
 how you are currentty paying For accounts that have been paid and ctosed, sotd, or transferred, Pay Status represents the last reported status of the account.

        TransUnion is now including some Buy Now, Pay Later (BNPL) instattment loans, atso known as a "point-of-sale installment loans" on credit reports. At this
        time, BNPL information provided to TransUnion is visibte to you, but scoring providers, lenders, insurers or other authorized companies that may access
        your credit report wi[L not be abte to use this data. As a result, it witl. not affect credit decisions or credit scores catcutated using TransUnion data. In the
        future, Buy Now, Pay Later may be factored in to credit scores and credit decisions (for example, account opening or account review decisions). Visit our
        FAOs 6 to learn more.

 Payment/Remarks Key




https://annualcreditreport.transun   ion.com/dss/d isclosure.page                                                                                                      2155
      Ratings

       oK Current, paying or paid as agreed
      N./R Not Reported

        x    Unknown

       30 Account 30 days late
       60 Account 60 days late
       90 Account 90 days late
      r2o Account I2O or more days late
      col Transferred to collection
       vs VotuntariLysurrendered
      neo Repossession
      c/o Charged off by account provider
       Fc Forectosure
      Remarks

     AAP: Loan assumed by another party
     ACQ: Acquired from another lender
     ACR: Account ctosed due to refinance
     ACT: Account closed due to transfer
     AFR: Account acquired by RTC/FDIC

     AID: Account information disputed by consumer
     AJP: Adjustment pending
     AMD: Active mititary duty
     AND: Affected by natural disaster
     BAL: Battoon payment
     BKL: Inc[uded in bankruptcy
     BKW: Bankruptcy withdrawn
     CAD: Dispute account/ctosed by consumer
https://annualcreditreport.transunion.com/dss/disclosure.   page   3/55
     CBC: Account ctosed by consumer
     CBD: Dispute resotved/consumer disagrees,/cLosed by consumer
     CBG: CanceLed by credit grantor
     CBL: Chapter 7 bankruptcy
     CBR: Chapter 11 bankruptcy
     CBT: Chapter 12 bankruptcy

     CLA: Placed for cottection
     CLO: Ctosed
     CLS: Credit line suspended
     CRB: Cottateral reLeased-batance owing
     CTR: Account cLosed-transfer to refinance

     CTS: Contact subscriber

     DDR: -none-
     DLU: Deed in lieu
     DM: Bankruptcy dismissed
     DRC: Dispute resolved/consumer disagrees
     DRG: Dispute reso[ved reported by credit grantor
     ER: Etection of remedy

     ETB: Earty termination/balance owing

     ETI: Early termination by defautt
     ETO: Earty termination/obtigation settted

     ETS: Earty termination,/status pending

     FCL: Forectosure

     FPD: Account paid, forectosure started

     FPI: Forectosure initiated
     FRD: Forectosure coLlateral so[d

     FTB: Fut[ termination,/batance owing

     FTO: FuL[ termination/obLigation satisfied

     FTS: FuLl, termination/status pending

     INA: Inactive account
     INP: Debt being paid through insurance

https:i/an nualcreditreport.kansu nion.com/dss/d isclosure. page    4t55
     INS: Paid by insurance
     IRB: Invo[untary repossession./batance owin g
     IRE: Involuntary repossession
     IRO: Invotuntary repossession/obtigation satisfied
     JUG: Judgment granted
     LA: Lease assumption
     LMN: Loan Modified Not GOVT (government)
     LNA: Credit line is no Longer avaiLabte
     MCC: Managed by credit counseling service
     MOV: No forwarding address
     NIR: Student loan not in repayment
     NPA: Now paying
     PAL: Purchase by another Lender
     PCL: Paid cotlection
     PDD: Paid by deater
     PDE: Payment deferred

     PDI: Principte deferred./initial payment only
     PFC: Account paid from cottateral

     PLL: Prepaid Lease

     PLP: Profit and Loss now paying

     PNR: First payment never received
     PPA: Paying partia[ payment agreement
     PPD: Paid by co-maker
     PPL: Paid profit and Loss

     PRD: Payrotl deduction

     PRL: Profit and loss write-off

     PWG: Account payment, wage garnish

     REA: Reaffirmation of debt

     REP: Substitute./reptacement account

     RFN: Refinanced

     RPD: Paid repossession


https://an nualcreditreport.tra nsunion.com/dss/d isclosure. page   5/55
     RPO: Repossession
     RRE: Repossession redeemed

     RVN: Returned voLuntarity
     RVR: Returned vo[untariLy,/redeemed

     SET: Settled-Less than futl batance

     SGL: Government secured guaranteed
     SIL: Simp[e interest loan
     SLP: Student loan perm assign government

     SPL: Singte payment loan

     STL: Credit card lost,/stoLen

     TRF: Transfer

     TRL: Transferred to another lender

     TTR: Transferred to recovery

     WEP: Chapter 13 bankruptcy
     For account information other than payment history, we may show brackets > < to indicate information that may negativeLy affect your credit heatth



 Accounts with Adverse Information
 Adverse information typica[ly remains on your credit file for up to 7 years from the date of the detinquency. To hetp you understand what is general.ty
 considered adverse, we have added >brackets< to those items in this report. For your protection, your account numbers have been partiatty masked. and in
 some cases scrambled.


   Account Name

      AMERICAN EXPRESS 34999292204I---- .4-                       1


      Account Informationff
      Address                                                                        PO BOX 981537 EL PASO, TX79998


      Phone                                                                                              (BOO) 874-2717


      Date Opened                                                                                            Io/3o/2o21{'e. : ii


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       Responsibility                                                                                      Individua[ Account


       Account Type                                                                                        Revotving Account


       Loan Type                                                                                                  CRED]T CARD


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       Date Updated                                                                 --&
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       Pay Status                                                                           *--- i.r's'           >Charge-off<


      Terms                                                                                                        Paid Monthty


       Date Ctosed                                                                                          E**     o6/16/2023


                                                                         Credit limit of $1,000 from 05/2023 to I2/2O23: $O
      Credit Limit (Hist.)                                            from 0I/2024 to 09/2024; $O from I2/2O24 to I2/2O24

       Estimated month and year this item witt be removed
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      Payment History           W




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      Address                                                                                                             282s5


       Phone                                                                                                      (8OO) 669-6607


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      Address                                                                                                                                 PO BOX 30939 SALT LAKE CITY, UT 84130


      Phone                                                                                                                                                                                     (8OO) 347-2683



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 Satisfactory Accounts
 The fotlowing accounts are reported with no adverse information. For your protection, your account numbers have been partiatly masked, and in some cases
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 q Inquiries

 Regular Inquiries
 Regular Inquiries are posted when someone accesses your credit information from TransUnion. The presence of an inquiry means that the company listed
 received your credit information on the dates specified. These inquiries wil.[ remain on your credit fite for up to 2 years.


    Name


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           Dear Lensendro Laguerre,

           We are writing to you ebout your application for a Platinum Credit Card account.
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{           Unfortunately, we cannot approve you at this time.
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            We reviewed your request using a scoring system that arsigne pointe basad on the pattem of urryo tor your
            account. Your ascount did not score enough points in the following fuctors:

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            ThEnk you tor your intarsst.

            Sincerely,

            U.S. Bank
            Credit Department
           8W947 - 1 4 4 4 (toll -free)

           The creditor and issuar of this card is U.S. Bank Natipnal Association.




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                                                                        part on information obtained from the following consumer credit reporting
                     Ouf decision was based in whole or in
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                          TraneUnion, pO Box 1000, Chester, PA, 19022, 800-888-4213, transunion.comlcredit-score

                                                                                                              the reasons why the action was
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e                      takbn. under thE Fair credit Reporting Act, you have the right tqr
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                            r  Know ths information contained in your credit file'
                                                                                                               you request it no later than ffi
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                            r   obtain a free copy of your congumer report from the rgporting agency, i!
                                days after You recEive this notice'
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     E                       .   File a dispute with the reporting Bgency if you find that information
                                                                                                       containe d in your report Is innaeurale
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                           your credit scor€ is a number that reflects the information in your credit report. Your credit score can change,
                                                                                                              score provided by TnnsUnion
                           depending on how thB information in your credit report changag. We used a credit
                                                                                                               On O9/15/2024, your credit
                            in this decision: the TransUnion FICO SCORE 10, which rangqs from 300 to 85O.
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                           lf you have any questions ragarding your credit Ecore, you should contact TransUnion at the address above.

                          We would like to take thie opportunity to refer you to our suite gt U.S. Bank Secured credit cards.          a              With     Secured
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                    Dear Lensendro Laguerre,

I)                  We are writing to you about your application for a Rewards Credit Card account.
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I                    Unfortunately, we cannot approve you at this time.
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                     We reviewed your requs6t using a scoring syetem that assigns points based on tho pattsrn of usage for your
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                      Sincerely,


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                       cAT-41 682190                                                                                                                                'ACIPSTS
             Our decisron was based in whole or in part on information obtained from the following consu mer credit reportrng
             agensy(ies):

                  TransUnion, PO Box 1000, Chester, PA, 19022, 800-888-4213, transunion.com lcredit-scora

               The consumer reporting agency did not make the decision and is unable to share the reason s why the action wae
               taken. under the Fair credit Reporting Act, you have the right to:
                       rKnow the information contained in your credit fils.
I


I                      rObtain a tree copy of your consumer report fronr the reporting agency, if you request it no later than                                   ffi
B                        days after you receive this notice.
                        rFi\e a dispute with the reporting agency if you find that information containe d in your report is innacurrate
                          orincomplete.

                      Your credit score is a number that reflects the information in your credit report. Your credit ecore can change,
                      depending on how the information in your credit report changes. We used a credit score provided by TranslJnion
                       in this decision: the TraneUnion FICO SCORE 1O, which ranges from 3OO to 85O. On O9/18/ZOZ{, your credit
                        score wae 505 based on the information in your credit report. The key factore that impacted your credit score'
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        rI
     g                       r Senous delinquency
                            r Ratio of balances to credit limits on revolving accounts is too high
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    a,
                            r Too few accounts currently paid as agreed
    o                       o Number of recent inquiries on consumer report
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                      lf you have any questions regarding your credit score, you should contact TransUnion at the address above.

                   We would like to take thie opportunity to refer you to our suite of Elan Secured credit cards. With a Secured
                   credit card, you will enioy the benefits and conveniencs of a traditional credit card while establishing or rebuilding
                  your creditr- With your application, open a secured savings account and the deposit amount is your
                                                                                                                              credit linel
                  Upon approval, make purchases just like you would with rany other credit card anywhere Visa and Mastercard
                                                                                                                                       are
                  accepted. With on-time payments and responsible u6e of your secured credit card you are building better credit
                  for the future. We've included an application hero to get you started. Apply now and be one step closer to
                  enioying your Secured credit cardlc
                  IYqrr eecured card appfcaion and any futura upgrade to an unsocuracl card ar€ not guarantoed; Lat€ payments or going over the credit liririt
                  may dam4e yurr credt hictory.
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    o{            unfortunatery, we cannot
     2                                                         approvs you at this time.
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     am           we reviewed your           using a scoring sy:tem. that assigns points
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                  account. Your account did not r"-o."
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                            r serious delinquency
                            r ratio of balanees to crsdit rimits on revorving aecounts is too high
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                  Thank you for your intersst.

                 $irrcorely,

                Cardmember Servica
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            * Tha creditor and issuer of this card ig E,a?i Fiianeial Sarviceg.




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                oublic assistanc. program I oi
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                Notice to ,ysshington residents; washlngton

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                   Elrn Flnrnclrl Servloes
                   PO Box 638l
                   Fergo, ND 5Blz5-trt8l                                                                                         REF:2O2426251Oosss



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                    Norwalk, CT 06851

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              WearewritingtoyouaboutyourapplicationforaPlatinumCreditCardaccount'
to            Unfortunately, we cannot approv€ you at
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I             we reviewed your reguest using a scoring 'y'tem
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              Cdrdrnamber Servica
              goa-s#'gffi (toll-free)
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                        in whole or    in part on information obtained
our decision v{as based
agencY(ies):


     TransUnion, PoBox1000,Chester,PA,19022,800.888'4213,transunion'com/credit.acore

                                                                       is unable to share lhe'reasionewhy
  The, eonsumer rePorting agsncy
                                     did not make the decision and
                                                                 to:
   taken. Underths Fair Crsdit
                               Reporting Act, you have the right
          ,      the information contained in Your
                                                   credit file
              Know                                                                        you requeellit'no
                                                    rePort from the reporting agency,if
                     a free coPY of your consumer
                            receive thie notice.
                                                                       information contained in
                                the reporting age ncy if you find that




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                                 Elan Financial Sewices                                                                                                       November 8'2A24
                                 PO Box 6361
                                 Fargo, ND 58125-6361                                                                                                                                   1
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      E         ffi 26Lensendro Laguerre
                        Broad St# 4
                           Norwalk, CT 06851
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oo              Dear Lensendm Laguerre,
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                    We are writing to you about your application for a Business Credit Card account.


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 U,                 Unfortunately, we cannot approve you at this time.
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                    We reviewed your request using a scoring system that assigns points based on the patfern of usage for your
                    account. Your account did not score enough points in the following factors:

                           . Serious delinquency
                           r Ratio of balances to credit limits on revolving accounts is too high
                           r Number of accounts with delinquency
 ffi                 Pleare soa the back of this lslter for ths Consumer Raporting Agancy information relevant to our decision.
 00
                     Thank you for your interest.

                     Sincerely,

                     Cardmember Service
                     800-364-9548 (tol l'f ree)

                     The creditor and issuer of thie card ia Elan Financial Services.




                                                                                  EJQUAT CNEDIT    OPPONUil]TY AST ilONGt

                                                                 prohibits aeditots from discrlminating agalnst cledit appllcants on the basls of race, color, religion, national origin,
                    The Federal Equal Credit Opportunlty Act
                                                                      has dte caPacily to         into a binding contrac0; becarse all or p_art of the appllcant's incohe derives fiom iny
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                                                                                          -eflter
                    orUfrc ,*fttrno      prigran t ol because the applicant has ln good faith exerclsed any rlght under the Consumer Credit Protectlon Act. The Federal agency that
                                                                                       the Bureau of Consumer Financial Ptotectlon {CFPB), 1700 G Street NW, $lashington of zO5sz.
                    iUririrt.ir r*plianie with this law concernlng this credilot is
                                                                              l8w against discrlmlnatlon prohibits discrimlnation ln credit transacdons because of race, creed, color,
                    l,l'tlc€ lo Washlngton resldents: l4/ashlngon state
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                    ffi;fuiilr, iei, marital status, honoiably dlscharged
                                                                     dog by a disabled person, The vfashington state Human Rights commisslon admlnlsters
                    iiirr-l1ity riif'r rseof a tralned guide dog or service                                                                                             complienct with
                    this lew.
                                                                                                 2024301 909061 1                                               Fom IACAPSLS CAOCF v(l
                    cAT.t1682{90
                                                     or in part on information obtained from the
                                          in whole                                                     folrowing consumer
                              was based                                                                                       credit reporting
              our decision
              agencY(ies):
                                                  chester' PA' 19022' 800-888-4213' transunion'com/credit-score
                                 po Box 10@'




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                   Transunion,



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             lf you have any questions regarding your credit score, you should contact TransUnion at the address above.




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